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17
                                    UNITED STATES DISTRICT COURT
18
                                  NORTHERN DISTRICT OF CALIFORNIA
19
20   MIKE MADANI, ERIC WALLEY, RICHARD
     DEVICO, ROMSIN OUSHANA, JOHN
21   CHESS, and MICHAEL WARCHUT, on                      Case No.: 4:17-cv-07287-HSG
     behalf of themselves and all others similarly
22                                                       SECOND AMENDED CLASS ACTION
     situated,
                                                         COMPLAINT
23                  Plaintiffs,
24         v.
25   VOLKSWAGEN GROUP OF AMERICA,                        DEMAND FOR JURY TRIAL
     INC.,
26
                    Defendant.
27
28




                                  SECOND AMENDED CLASS ACTION COMPLAINT - 1
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 1
 2                          SECOND AMENDED CLASS ACTION COMPLAINT
 3           1.      Plaintiffs1 Mike Madani, Eric Walley, Richard DeVico, Romsin Oushana, John Chess,
 4   and Michael Warchut (“Plaintiffs”), individually and on behalf of all others similarly situated, by and
 5   through the undersigned counsel, hereby set forth their claims against Defendant Volkswagen Group of
 6   America, Inc. (“Defendant” or “Audi”) in this class action complaint. Plaintiffs allege the following based
 7   upon personal knowledge as to their own acts, and based upon the investigation conducted by their
 8   counsel, as to all other allegations:
 9                                           NATURE OF THE CASE
10           2.      This proposed class action is brought by Plaintiffs who allege that defective direct-shift
11   gearbox (“DSG”) transmissions also referred to as “S-tronic transmissions” are installed in the following
12   vehicles models and model years: 2010-2015 Audi S4; 2010-2015 Audi S5; 2010-2015 Audi S6; 2010-
13   2015 Audi S7; 2010-2015 Audi RS5 (the “Class Vehicles”) sold or leased to consumers, including
14   Plaintiffs, throughout the United States.
15           3.      The Class Vehicles were sold or leased pursuant to express and implied warranties. Every
16   class vehicle is backed by a 48-month/50,000-mile express New Vehicle Basic Limited Warranty
17   (“Limited Warranty”). This warranty expressly covers any repairs needed to correct defects in materials
18   or workmanship, and specifically applies to the engine, transmission (including the DSG) and transaxle,
19   drivetrain, front-wheel-drive system, and rear-wheel drive system. This warranty expressly applies to all
20   original purchasers and lessees throughout the United States. These warranties also transfer to subsequent
21   purchasers. The express warranties assured consumers that Audi would repair or replace any part that is
22   defective in materials or workmanship under normal use and the Class Vehicles were properly equipped
23   for the use for which they were intended. At the time each class vehicle was sold or leased, Audi breached
24   its express and implied warranties because each class vehicle was equipped with a dangerous and
25   defective transmission.
26
27   1
       The Complaint, Doc. 1, included Plaintiffs Brian Gillard and Shant Bakalian. Plaintiff Brian Gillard
28   was voluntarily dismissed in March 2018. See Doc. 12. Plaintiff Shant Bakalian, likewise, was voluntarily
     dismissed in April 2018. See Doc. 49.



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 1          4.      The transmissions in all of the Class Vehicles are defective. The transmissions cause
 2   sudden, rough, unexpected shaking, and violent jerking (commonly referred to as “juddering” or
 3   “shuddering”) when drivers attempt to accelerate Class Vehicles and shift into 2nd, 3rd, or 4th gear and
 4   attempt to decelerate. Further, Class Vehicles exhibit clunky downshifting and inhibited gear shifting.
 5   For example, the transmissions hesitate before responding to a driver’s input on the accelerator pedal,
 6   which prevents Class Vehicles from accelerating as intended by the driver, especially when accelerating
 7   from a complete stop. The Class Vehicles power surges while driving. The transmissions cause a hard
 8   downshift or clunk when drivers either slow down or accelerate at low speed (herein referred to as the
 9   “transmission defect”). This defect creates unreasonably dangerous situations while driving and increases
10   the risk of an accident, as the driver is unable to accelerate the vehicle when needed, or as expected by
11   the Class Vehicle driver and other drivers on the road. Often, the defect leaves the driver helpless and
12   unable to sufficiently accelerate in order to keep up with traffic.
13          5.      The shuddering, juddering, hesitation of acceleration, surge, and hard clunk described
14   above are all manifestations of the transmission defect in the Class Vehicles.
15          6.      Audi sold, leased, and continues to sell and lease the Class Vehicles despite knowing of
16   the transmission defect that poses a danger to Class Vehicle drivers and the public.
17          7.      Audi has chosen financial gain at the expense of the safety of drivers and the public by
18   failing to disclose its knowledge of this critical safety defect to consumers.
19          8.      Audi knew or should have known about the safety hazard posed by the transmission defect
20   before the sale of the first Class Vehicles from various sources, including but not limited to: pre-market
21   testing, warranty claims, NHTSA, internal complaints, and other sources. These sources of information
22   and knowledge underlie Audi’s Technical Service Bulletins (“TSBs”) acknowledging problems with the
23   transmissions of Class Vehicles. Audi should not have sold, leased, or marketed the Class Vehicles
24   without a full and complete disclosure of the Class Vehicles’ transmission defect, and should have
25   voluntarily recalled the Class Vehicles as soon as Audi knew the extent and pervasiveness of the defect.
26          9.      Plaintiffs bring this action on behalf of themselves and all others similarly situated
27   (“Class,” “Subclass,” “Class Members,” or “Subclass Members”) for Audi’s breach of express and
28   implied warranties as well as violation of the Magnuson-Moss Warranty Act, California Legal Remedies




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 1   Act (“CLRA”), Song-Beverly Consumer Warranty Act, California’s Unfair Competition Law, and unjust
 2   enrichment seeking damages, injunctive and declaratory relief, restitution, disgorgement of profits,
 3   attorneys’ fees and costs, and the repair or replacement of Class Vehicles or refund of money paid to own
 4   or lease all Class Vehicles in the United States.
 5
 6                                        JURISDICTION AND VENUE
 7           10.     The United States District Court for the Northern District of California has subject matter
 8   jurisdiction over this action pursuant to the Class Action Fairness Act because there is minimal diversity,
 9   the proposed Class and Subclass each exceeds one hundred members, and the matter in controversy
10   exceeds the sum or value of $5,000,000 exclusive of interests and costs. 28 U.S.C. § 1332(d)(2)(A).
11           11.     The United States District Court for the Northern District of California can exercise
12   personal jurisdiction over Audi because Audi’s actions summarized in this complaint occurred in this
13   District subjecting Audi to specific jurisdiction in this District.
14           12.     The United States District Court for the Northern District of California can exercise
15   supplemental jurisdiction over Plaintiffs’ state-law claims pursuant to 28 U.S.C. § 1367.
16           13.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(a)-(c). Audi does substantial
17   business in the State of California and within this Judicial District, is registered to and is doing business
18   within the State of California, and otherwise maintains requisite minimum contacts with the State of
19   California. Audi distributes Class Vehicles in this District and receives substantial compensation and
20   profits from the sale and lease of Class Vehicles in this District. Additionally, more than one of the
21   Plaintiffs are domiciled in this District, purchased a Class Vehicle in this District, and had their vehicle
22   serviced in this District.
23                                                    PARTIES
24           14.     Plaintiff Mike Madani, a proposed Class and Subclass representative, is an adult citizen
25   of California who resides in Rolling Hills Estates (Los Angeles County).
26           15.     Plaintiff Eric Walley, a proposed Class and Subclass representative, is an adult citizen of
27   California who resides in Walnut Creek (Contra Costa County).
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                                  SECOND AMENDED CLASS ACTION COMPLAINT - 4
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 1            16.     Plaintiff Richard DeVico, a proposed Class and Subclass representative, is an adult citizen
 2   of California who resides in San Diego (San Diego County).
 3            17.     Plaintiff Romsin Oushana, a proposed Class and Subclass representative, is an adult
 4   citizen of California who resides in San Jose (Santa Clara County).
 5            18.     Plaintiff John Chess, a proposed Class and Subclass representative, is an adult citizen of
 6   California who resides in Pleasanton (Alameda County).
 7            19.     Plaintiff Michael Warchut, a proposed Class and Subclass representative, is an adult
 8   citizen of California who resides in Fairfield (Solano County).
 9            20.     Defendant Volkswagen Group of America, Inc. is a corporation organized and in
10   existence under the laws of the State of New Jersey. At all times relevant herein, Volkswagen Group of
11   America, Inc. was engaged in the business of designing, manufacturing, constructing, assembling,
12   marketing, distributing, and selling automobiles and other motor vehicles and motor vehicle components
13   in California and throughout the United States of America.
14
15                                         GENERAL ALLEGATIONS
16                    Audi Knowingly Sold Dangerously Defective Vehicles to Consumers.
17            21.     In August 2009, prior to the sale of any of the Class Vehicles in this case, Audi issued a
18   voluntary recall for the Audi A3, TT Couple, TT Roadster, in addition to VW Eos, Jetta Sedan, and Jetta
19   Sportwagen, due to DSG transmission failures that caused the vehicles to lose power and go into “limp
20   mode” while being driven.2
21            22.     The DSG transmissions that were the center of the recall within the vehicles is the same
22   type of DSG transmission within the Class Vehicles.
23            23.     Since 2009, Audi has been aware of safety issues and defects surrounding the DSG
24   transmissions.
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     2
         See https://www.carscoops.com/2009/08/vw-and-audi-models-recalled-over-two.



                                  SECOND AMENDED CLASS ACTION COMPLAINT - 5
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 1          24.     Yet, Audi only decided to recall the 2009-2010 Audi A3, TT, and TT Roadster, rather
 2   than all of the models in its product line that had the DSG transmissions (e.g., 2009 S4, S5, S6, and S7
 3   models).
 4          25.     As part of the recall, Audi extended the warranties for the 2009-2010 Audi A3, TT, and
 5   TT Roadster to 10 years/100k and reimbursed those who had already incurred out of pocket expenses
 6   from repair to their defective DSG/S-tronic transmissions.
 7          26.     Per NHSTA, the investigation into this recall started in July 17, 2009 and lasted until
 8   November 19, 2009, prior to a sale of any Class Vehicle in this case.
 9          27.     NHSTA’s investigation states in part:
10
     THE SUBJECT VEHICLES ARE EQUIPPED WITH DIRECT SHIFT GEARBOX (DSG)
11
     TRANSMISSIONS, WHICH FEATURE A 6-SPEED AUTOMATIC GEARBOX WITH TWO WET
12   RUNNING CLUTCHES (DUAL CLUTCH) IN WHICH THE CLUTCH MECHANISM AND GEAR
     CHANGES ARE ELECTROHYDRAULICALLY OPERATED BY A MECHATRONIC CONTROL
13   UNIT. THE DSG MECHATRONIC CONTROLLER INCLUDES EXTENSIVE SELF DIAGNOSTIC
     FUNCTIONS AND STRATEGIES TO ENSURE SAFE OPERATION AND PREVENT
14
     SYSTEM/COMPONENT DAMAGE IN THE EVENT OF COMPONENT FAILURES OR HARSH
15   OPERATING CONDITIONS. THE BASIC HIERARCHY OF FAULT MODES INCLUDES SOME
     THAT ONLY RESULT IN THE STORAGE OF A DIAGNOSTIC TROUBLE CODE (DTC) AND
16   CAUSE NO LOSS OF FUNCTION, SOME THAT STORE A DTC AND REDUCE VEHICLE
17   OPERATION TO A LIMP HOME MODE, AND SOME THAT STORE A DTC AND CAUSE AN
     INTERRUPTION OF MOTIVE POWER (I.E., OPEN CLUTCH). THE DRIVER IS ALERTED
18   TO THE LATTER TWO MODES BY THE DASH GEAR POSITION INDICATOR (PRNDS)
     FLASHING.
19
20   ODI ALSO IDENTIFIED COMPLAINTS OF HARSH/JERKY SHIFTING IN SOME
     VOLKSWAGEN VEHICLES WITH DSG. VOLKSWAGEN ATTRIBUTED THIS CONDITION,
21   WHICH TYPICALLY OCCURS AT VERY LOW SPEEDS, TO EXCESSIVE WEAR IN THE
     BUSHINGS OF THE TWO SOLENOID VALVES IN THE MECHATRONIC UNIT THAT
22   CONTROL CLUTCH OPERATION. VOLKSWAGEN DOES NOT BELIEVE THAT THE THIS
23   CONDITION IS A SAFETY DEFECT BECAUSE THE CHANGES IN SHIFT QUALITY
     DEVELOP GRADUALLY OVER TIME, DO NOT CAUSE A LOSS OF MOTIVE POWER AND
24   HAVE NOT RESULTED IN ANY FATALITIES, INJURIES OR SERIOUS CRASHES (THERE
     WERE THREE REPORTED PROPERTY DAMAGE INCIDENTS RESULTING IN MINOR BODY
25   DAMAGE IN VERY LOW SPEED, PARKING MANEUVERS). VOLKSWAGEN ADDRESSED
26   THIS PROBLEM IN THE FIELD WITH A CUSTOMER SERVICE PROGRAM THAT INCLUDES
     THE REPLACEMENT OF POTENTIALLY AFFECTED MECHATRONIC UNITS AS WELL AS A
27   10 YEAR/100,000 MILE EXTENDED WARRANTY.
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     THIS INVESTIGATION IS CLOSED WITH VOLKSWAGEN'S RECALL OF THE DEFECT
 1
     CONDITION THAT MAY RESULT IN A LOSS OF MOTIVE POWER WHILE DRIVING.3
 2
 3          28.     Accordingly, as of the 2009 NHSTA investigation conducted on the A3 models, Audi was

 4   aware the S-tronic or DSG Gearbox transmissions had the ability to go “limp” and “reduce[] vehicle

 5   operation.”4

 6          29.     The NHSTA’s investigation further revealed that the DSG transmissions have

 7   “harsh/jerky shifting in some Volkswagen Vehicles with DSG.”5

 8          30.     At least as of the November 2009 conclusion of the NHSTA’s investigation, Audi had

 9   knowledge that (1) their DSG Transmissions were defective; (2) such defect was present in the DSG of

10   other models sold or intended to be sold; (3) the defect would manifest as harsh, jerky shifting, and loss

11   of power; and (4) the defect was a safety hazard for drivers and the public.

12          31.     Although Audi had pre-sale notice that the Class Vehicles contained the defective DSG

13   Transmissions, Audi sold the Class Vehicles with the knowledge that the DSG Transmissions were

14   capable of an extreme safety defect that could risk the lives of drivers, passengers, and the public.

15          32.     Also in 2009, “Good Morning America” questioned Volkswagen regarding the issues

16   surrounding the models that led to Audi instituting the recall in addition to the NHSTA investigation.6

17          33.     Drivers were experiencing issues similar, if not identical, to those suffered by Plaintiffs

18   and those described in the NHSTA complaints for the Class Vehicles: “Lisa Toler let the dealership repair

19   her transmission, but she’s still uneasy, especially because she had four kids in her car when it stalled on

20   the highway. ‘My kids didn’t wanna get in the car again after it was fixed,’ she said. ‘They’re like, ‘Is

21   this car gonna break down on us?’”7

22          34.     Years prior to Plaintiffs’ vehicle purchases in 2010, 2011, 2013, and 2016, the safety

23   defect in the DSG Transmissions of Class Vehicles was well known to Audi from, at a minimum, both

24   the NHSTA investigation and the extensive press coverage.

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     3
       See NHTSA ACTION NUMBER: PE11023 “VEHILCLE STALL/LOSS MOTIVE POWER”
26   https://www.nhtsa.gov/vehicle/2009/AUDI/A3#investigations (emphases added).
     4
27     Id.
     5
       Id.
     6
28     https://abcnews.go.com/GMA/story?id=8378724.
     7
       Id.



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 1            Audi began manufacturing Class Vehicles in approximately the middle of 2009.
 2          35.     Class Vehicles were first sold or leased to members of the Class and Subclass in
 3   approximately September 2009.
 4          36.     However, it would take two years before Audi openly acknowledged the DSG
 5   Transmission defect in the Class Vehicles via TSB No. 2027295 that Audi knew about from the recall
 6   and NHSTA investigation over the same DSG Transmission issue in the 2009 A3s and Volkswagens
 7   before a single Class Vehicle was sold to Plaintiffs or the Class.
 8          37.     In September 2011, Audi issued TSB No. 2027295 to remedy “clacking or knocking
 9   issues” that “differ depending on driving situation or temperature” for the S4 and S5 Cabriolet models.
10          38.     As shown below, Audi says that these issues are “normal” despite these noises being
11   indicative of a transmission issue that involves a real and severe safety risk to the Class Members.
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 1          39.     Further, the TSB notes there are “knocking noises directly after a load change” and
 2   “knocking noises are heard in the drivetrain.”
 3          40.     As evidenced by the NHSTA complaints and consumer complaints, the vehicles make a
 4   variety of sounds that are indicative of the defect manifesting in the Class Vehicles that cause the judder,
 5   jerk, and transmission failures which have resulted in a variety of safety issues that NHSTA had
 6   documented thoroughly in 2009 while investigating the 2009 A3s and affected Volkswagen models with
 7   the identical transmissions.
 8          41.      Some drivers refer to the noise as “clanking,” “banging,” and/or “clunking.”
 9          42.     Upon information and belief, Audi was aware, or should have been aware, of the defect
10   present in the Class Vehicles before the first Class Vehicle was ever sold.
11          43.     The defect causes the transmission to malfunction in, at a minimum, the following ways:
12   the Class Vehicles hesitate from a stop before acceleration, surge in acceleration, hard downshift at low
13   speeds, and suddenly shake and jerk violently (commonly known as “juddering” or “shuddering”)
14   (collectively, “transmission failures”).
15          44.     Drivers’ reports confirm that the transmission failures occur at especially critical points,
16   including but not limited to: when a driver is trying to accelerate from a stop, often with other cars
17   behind the Class Vehicles; at low speeds when drivers intend to merge with traffic and shift gears to
18   merge onto a highway; when a driver is accelerating to gain speed to drive uphill; when a driver is
19   shifting gears at low speeds; and when a driver is attempting to decelerate the Class Vehicle. The
20   transmission defect, especially in these scenarios, creates a safety risk that can lead to serious accidents,
21   including those resulting in personal injuries or even deaths. The safety risks are to both the Audi drivers,
22   their passengers, and the public.
23          45.     Audi has issued multiple TSBs that seek to remedy the transmission defect in the Class
24   Vehicles.
25          46.     On July 19, 2013, in another attempt to remedy the transmission defect suffered by the
26   Class Vehicles, Audi issued TSB No. 2028715, which superseded the prior version issued in February
27   28, 2012.
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 1          47.    As shown below, this bulletin, TSB No. 2028715, issued to remedy “rough gear changes,
 2   both when accelerating and when slowing down” and “rough driving power disruption.”
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            48.    In November 2013, Audi issued TSB No. 2030477/6 for the Class Vehicles.
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            49.    As shown below, in this TSB, Audi recommended a fix regarding a display that said
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     “Gearbox malfunction: you can continue driving.”
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18          50.    TSB No. 2030477/6 was the sixth TSB issued related to this issue.
19          51.    On October 14, 2016, TSB No. 2030477/9 issued in an attempt to remedy the
20   transmission defect suffered by the Class Vehicles.
21          52.    This TSB was added because “[g]earbox malfunction: you can continue driving”

22   appeared on drivers’ screens.
23          53.    Further, the appropriate repair was an “improved circuit board for the mechatronics unit.”
24          54.    TSB No. 2030477/9 appears below.
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            55.    On February 27, 2017, TSB No. 2027363/4 issued regarding “[h]ard downshifting of
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     multiple gears: 7-5, 4-3, 2-1. This may happen during just one of these shifts.” Further TSB No.
27
     2027363/4 issued due to the notification of “[g]earbox complaint! Journey can be continued!”
28




                              SECOND AMENDED CLASS ACTION COMPLAINT - 12
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 1   56.   TSB No. 2027363/4 appears below.
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                     SECOND AMENDED CLASS ACTION COMPLAINT - 13
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                   SECOND AMENDED CLASS ACTION COMPLAINT - 14
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 1             57.   All of the above referenced TSBs are attempts, in one way or another, to remedy the
 2   known transmission defect.
 3             58.   Despite Audi’s knowledge of a problem that was widespread and serious enough to send
 4   dealers this many TSBs related to the defect, Audi did not inform Plaintiffs or Class Members of the
 5   defect.
 6             59.   Despite its knowledge of the defect, Audi continued to sell Class Vehicles with the
 7   defectively designed and/or manufactured transmissions.
 8             60.   Despite its knowledge of the defect, Audi did nothing to recall the Class Vehicles to
 9   address this defect.
10             61.   The above listed and described TSBs evidence Audi’s repeated inability to determine (a)
11   the cause of the defect and (b) a resolution for the defect.
12             62.   Further, Audi continued to sell new and Certified Pre-Owned Class Vehicles even while
13   issuing TSBs for the defect, advertising and warranting them as if they were defect-free.
14             63.   The Class Vehicles were defective from the time they were released by the manufacturer
15   into the stream of commerce.
16             64.   Audi failed to disclose this material defect to Plaintiffs, Class Members, consumers, and
17   the general public.
18             65.   Hundreds, if not thousands, of purchasers and lessees of the Class Vehicles have
19   experienced the transmission defect.
20             66.   Complaints filed by consumers with the NHTSA and posted on the Internet demonstrate
21   that the defect is widespread.
22             67.   The consumer complaints, as well as Audi’s repeated TSBs, indicate that Audi was fully
23   aware of the widespread and common defect and its potential danger to drivers and the public. See infra.
24             68.   Audi continued to manufacture, market, and distribute new Class Vehicles into model
25   year 2016 despite its failure to remedy the known transmission defect.
26                     Consumers Have Extensively Reported the Safety Defect to Audi.
27             69.   NHTSA provides a system for motor vehicle owners to report complaints relating to
28   safety defects that pose a risk of accidents, injuries, and even death in vehicles manufactured or imported




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 1   in the United States, including safety defects relating to transmission malfunctions.
 2          70.     The safety defect complaints are entered into NHTSA’s consumer complaint automated
 3   database, which manufacturers can—and do—access.
 4          71.     NHTSA also provides these consumer complaints to the vehicle’s manufacturer,
 5   including Audi.
 6          72.     Like other manufacturers, Audi reviews NHTSA consumer complaints.
 7          73.     Given that the vast majority of vehicle owners are not aware of NHTSA and/or its
 8   reporting system, complaints received by NHTSA are a small minority of the overall number of
 9   complaints made to Audi, which also received complaints directly and/or through their authorized
10   dealerships.
11          74.     Since at least February 2012, Audi has received complaints of transmission defects and
12   safety concerns related to the Class Vehicles through NHTSA, Audi dealerships, and directly from
13   owners of Class Vehicles.
14          75.     Upon information and belief, consumer complaints have been made directly to Audi
15   through its customer service department—information that is in the sole possession and control of Audi
16   but can be inferred by the repeated efforts to provide dealers guidance to repair the transmissions.
17          76.     Despite Audi’s knowledge of the transmission defect in the Class Vehicles and its safety
18   implications for drivers who cannot confidently change gears or accelerate without their Class Vehicles
19   juddering, Audi continues to conceal this knowledge. Audi has failed and continues to fail to disclose
20   that its Class Vehicles’ transmissions are defective and dangerous.
21          77.     Consumers continue to operate Class Vehicles and experience dangerous manifestations
22   of the defective transmission, putting drivers of Class Vehicles at increased risk for crashes.
23          78.     Many consumers have submitted individual NHTSA complaints regarding Class
24   Vehicles experiencing the transmission defect described in Audi’s TSBs. The number and content of
25   NHTSA consumer complaints of “juddering,” “down shifting,” “hesitation,” “surge,” and loss of
26   acceleration highlight the Class Vehicles’ transmission defect.
27          79.     These consumer complaints filed with NHTSA, and (like virtually all other automobile
28   manufacturers) regularly reviewed by Audi, highlight the safety risk caused by the defect, including




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 1   reports of near accidents and expressions of concern for drivers’ families without response or resolution
 2   by Audi.
 3            80.   Audi received and was aware of these consumer complaints.
 4            81.   Some of the complaints filed with NHTSA about the transmission defect are included
 5   below:
 6       NHTSA Complaint on October 23, 2012 for 2010 Audi S4: “THIS ISSUE CONCERNS
              MY AUDI 2011 S4, A CAR THAT I TOOK DELIVERY ON IN APRIL, 2011. I HAVE
 7            HAD NUMEROUS PROBLEMS WITH THE CAR SINCE THE DELIVERY,
              HOWEVER, IT IS A SAFETY CONCERN THAT HAS CAUSED THIS SPECIFIC
 8            FILING. THE PROBLEM SEEMS TO BE WITH THE DSG TRANSMISSION. ON
 9            OCCASION, THE CAR WILL STRUGGLE AND "BUCK" IN LOW GEARS AT A
              VERY SLOW SPEED (OR FROM A COMPLETE STOP) UPON ACCELERATION.
10            THIS DOES NOT HAPPEN OFTEN BUT IT HAS HAPPENED SEVERAL TIMES
              SINCE TAKING DELIVERY. I HAVE TRIED ADDRESSING THE PROBLEM WITH
11
              AUDI CORAL SPRINGS IN THE PAST BUT BECAUSE I CANNOT DUPLICATE
12            THE PROBLEM, THEY ARE UNABLE TO HELP. CONSEQUENTLY, I HAVE NOT
              BEEN ABLE TO ALWAYS DRIVE THE CAR IN THE MANNER THAT I WOULD
13            LIKE TO. HOWEVER, ON OCTOBER 9, 2012, THE PROBLEM HAPPENED AGAIN,
              ONLY THIS TIME, IT OCCURRED WHILE ATTEMPTING TO MERGE INTO
14
              TRAFFIC. I WAS IN A MERGE LANE, TRAVELING APPROX 3-5 MPH AND WHEN
15            THE OPPORTUNITY AROSE, I ACCELERATED INTO THE TRAFFIC. AT THAT
              PRECISE MOMENT, THE CAR BUCKED VIOLENTLY (AS IT HAS DONE IN THE
16            PAST) AND I HAD TO LIFT OFF THE THROTTLE TO CORRECT THE ISSUE. LET
              ME EXPRESS THAT I IN NO WAY AM ATTEMPTING TO CAUSE PROBLEMS FOR
17
              AUDI. I AM ONLY CONCERNED FOR MY SAFETY. ITS QUITE CONCEIVABLE
18            THAT WHEN MY CAR HAS THIS TROUBLE WHILE MERGING INTO TRAFFIC
              THAT I COULD GET HIT FROM BEHIND AS I MUST IMMEDIATELY LIFT OFF
19            THE ACCELERATOR TO RESOLVE THE ISSUE. *TR”
20
         NHTSA Complaint on May 13, 2017 for 2010 Audi S4: “MY S4 THREW THE
21            "GEARBOX MALFUNCTION, REVERSE DISABLED" AS WELL AS A TPMS
              ERROR CODE WHILE IN TRAFFIC, AND WENT INTO LIMP MODE AND WOULD
22
              NOT ALLOW ME TO ACCELERATE. VERY DANGEROUS, AND INCONVENIENT.
23            LIMPED HOME AT VERY SLOW SPEED WHILE TRANSMISSION CLUNKED AND
              STRUGGLED TO CHANGE GEARS. THE CODE HAS GONE AWAY SINCE I
24            RESTARTED THE VEHICLE, AND NOW IT LUNGES FORWARD WHEN YOU'RE
25            COMING TO A STOP, WHICH MAKES YOU FEEL LIKE YOU'VE BEEN HIT FROM
              BEHIND. TAKING OFF FROM A STOP IS BOUNCY AND SUPER JERKY. IF I
26            HESITATE BEFORE ACCELERATING FROM A STOP, IT WILL SOMETIMES GO
              SMOOTHLY. THE ENGINE RPM'S SURGE WHILE COASTING TO A STOP, OR
27            GOING DOWN, HILL ESPECIALLY WITH FOOT OFF THE PEDAL.”
28
         NHTSA Complaint on April 8, 2017 for 2010 Audi S4: “WHEN DRIVING IN REGULAR


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       DRIVE BOX INDICATOR COMES ON. SAYING GEARBOX MALFUNCTION
 1
       LIMITED FUNCTION. I ONLY HAVE 63125 MILES AND KEEP MY CAR
 2     MAINTENANCE.”

 3    NHTSA Complaint on March 9, 2017 for 2010 Audi S4: “ONE WEEK AFTER
 4     PURCHASING CAR, CAR EXHIBITING SYMPTOMS OF MECHATRONICS UNIT
       FAILURE (BANG/JERK WHEN STOPPING, RPM JUMPY IN 1/2ND GEAR,
 5     REVERSE IS JUMPY).”
 6
      NHTSA Complaint on January 4, 2017 for 2010 Audi S4: “TPMS & GEARBOX
 7     MALFUNCTION CAR WILL NOT DRIVE IN REVERSE AND JERK IN FORWARD
       GEARS WHILE ALSO INCREASING REVS ALL BY ITSELF. MAJOR SAFETY
 8     HAZARD AS THE CAR WAS IN MOTION ON A MAJOR BUSY ROAD!”
 9
      NHTSA Complaint on November 30, 2016 for 2010 Audi S4: “MY S4 LUNGES AT
10     STOPS, OR IT FEELS LIKE I'VE BEEN HIT FROM BEHIND. TAKEOFF FROM A
11     STOP IS BOUNCY, BOUNCY REVERSING, ESPECIALLY UPHILL. IF I TAKE MY
       FOOT OFF THE BREAKS AND HESITATE BEFORE ACCELERATING,
12     SOMETIMES IT’S SMOOTH. THE TAC BOUNCES WHILE COASTING TO A STOP,
       OR GOING DOWN HILL WITH FOOT OFF THE PEDAL. THESE ISSUES HAVE
13     BEEN INTERMITTENT THE LAST SEVERAL YEARS, BUT ARE NOW MORE
14     PROFOUND. I'VE TAKEN THE CAR TO MY LOCAL DEALER SEVERAL TIMES
       TO NO AVAIL. VERY FRUSTRATING TO PAY 50K FOR A CAR THAT DRIVES
15     LIKE THIS, WHILE AUDI PRETENDS IT'S NOT A PROBLEM. LOTS OF THESE
       ISSUES IN VARIOUS FORUMS.”
16
17    NHTSA Complaint on August 11, 2016 for 2010 Audi S4: "WARNING: GEARBOX
       MALFUNCTION- YOU CAN CONTINUE DRIVING" APPEARS AFTER ABOUT 15
18     MINUTES OF DRIVING. THE CAR DOES NOT MALFUNCTION, CHANGES
19     GEARS WITHOUT PROBLEMS, AND WARNING REMAINS ON SCREEN. CAR
       HAS 58K MILES AND HAS BEEN WELL MAINTAINED. TOOK TO AUDI
20     DEALERSHIP AND ADVISED MODULE G676 IS BAD. COST TO REPAIR:
       $5334.39. THERE IS A TSB FOR THIS WARNING ON THIS ISSUE FOR SEVERAL
21     YEARS OF AUDIS. AUDI WILL NOT COVER ANY OF THE COSTS TO REPAIR
22     ALTHOUGH THEY REALIZE THIS IS A COMMON FAILURE AMONG THIS
       VEHICLE. THIS IS A MANUFACTURER ISSUE!! WHY ARE THEY NOT BEING
23     HELD ACCOUNTABLE? HARD CLUNK WHEN SELECTING GEARS FROM P TO
       R TO D. WHEN COMING TO A STOP IN TRAFFIC THE CAR LURCHES FORWARD
24     LIKE BEING REAR ENDED. SOMETIMES AFTER A COMPLETE STOP HAS BEEN
25     MADE THE CAR WILL SURGE FORWARD A CONSIDERABLE AMOUNT WHICH
       MAY POSSIBLY CAUSE ME TO HIT THE CAR IN FRONT OF ME.”
26
27    NHTSA Complaint on June 20, 2016 for 2010 Audi S4: “MECHATRONIC FAILURE.
       CAR WAS FULLY SERVICED AND MAINTAINED BY AUDI HOWEVER AUDI
28     WILL NOT PAY FOR COST OF REPLACEMENT. COST OF REPLACEMENT IS




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        $3,000 USD. CAR DISPLAYED GEARBOX MALFUNCTION LIMITED DRIVING
 1
        ABILITY, PARKING BRAKE FAILURE THEN LOST ALL DRIVE AND CAR WAS
 2      STUCK IN N. I WAS UNABLE TO SHIFT OUT OF GEAR AND PUT THE CAR IN
        PARK THIS IS A SAFETY ISSUE.”
 3
 4    NHTSA Complaint on September 30, 2015 for 2010 Audi S4: “THE S-TRONIC/DSG
        TRANSMISSION IS HAVING ISSUES DOWNSHIFTING. IT WILL REV UP HIGH
 5      WHEN COMING TO A STOP AS WELL. THERE IS ALSO A HARSH CLUNK WHEN
        SHIFTING FROM NEUTRAL-DRIVE-PARK. AUDI RECOMMENDED REPLACING
 6
        THE MECHATRONICS UNIT IN THE TRANSMISSION. THE MECHATRONICS
 7      CIRCUIT BOARD HAS ALREADY BEEN REPLACED AT OWNERS COST AND
        NOW THEY WANT ME TO REPLACE THE ENTIRE MECHATRONIC UNIT AT MY
 8      COST ($3800+). THIS IS A COMMON ISSUE WITH THESE CARS AND THERE
        NEEDS TO BE A RECALL FOR THESE TRANSMISSIONS. IT IS KNOWN THAT
 9
        THESE TRANSMISSIONS ARE FAULTY AND AUDI DOES NOT WANT TO TAKE
10      RESPONSIBILITY FOR THESE ISSUES.”

11    NHTSA Complaint on September 30, 2015 for 2010 Audi S4: “AT APPROX 55K MILES,
12      MECHATRONICS UNIT FAILED. EXTREMELY ROUGH SHIFTS FROM 1-2 AND
        2-1, LURCHING FORWARD AFTER COMING TO COMPLETE STOP. DEALERSHIP
13      REPLACED MECHARONICS UNIT. AT 74K MILES ENTIRE DSG GEARBOX
        FAILED, WHILE ON HIGHWAY WITH VIRTUALLY NO POWER OR ABILITY TO
14
        ACCELERATE. LUCKILY TRAFFIC WAS AT NEAR STOP DUE TO RUSH HOUR,
15      WAS ABLE TO MAKE IT TO NEXT OFFRAMP IN WHAT THEY CALL 'LIMP
        MODE'. DEALERSHIP IS REPLACING ENTIRE TRANSMISSION.”
16
17    NHTSA Complaint on April 12, 2015 for 2010 Audi S4: “I HAVE JUST RECENTLY
        PURCHASED THIS CAR FROM AN OLDER MAN WHO WAS VERY KIND TO THE
18      CAR. I HAVE HAD THIS VEHICLE FOR THE WHOLE TWO MONTHS WHEN I
        ENTERED MY GARAGE TO LEAVE FOR THE DAY I RECEIVED A"GEAR BOX
19
        MALFUNCTION, YOU MAY CONTINUE DRIVING: LIMITED FUNCTIONALITY
20      CODE" I HAVE DONE MY HOURS OF RESEARCH AND HAVE FOUND OUT THIS
        IS A SIMPLY A PROBLEM LOT OF PEOPLE ARE HAVING. THIS IS SOMETHING
21      AUDI IS SELLING ON THEIR CARS KNOWING THESE HAVE ISSUES!!!!! I WANT
        TO TAKE FURTHER ACTION, AUDI SHOULD STEP UP AND REPAIR ALL THE
22
        BROKEN UNITS THEY HAVE BEEN SELLING. THESE UNITS HAVE GIVEN 95
23      PERCENT OF AUDI OWNERS PROBLEMS. REALLY MAKES ME FEEL LIKE I'LL
        NEVER BUY ANOTHER. *TR”
24
25    NHTSA Complaint on April 5, 2015 for 2010 Audi S4: “I WAS DRIVING AND CAME
        UP TO STOP LIGHT. CAR FLASHED UP WARNING SAYING GEARBOX
26      MALFUNCTION LIMITED FUNCTIONALITY. CAR WOULD NOT CHANGE UP OR
        DOWN SMOOTHLY OR QUICKLY. LOSS OF POWER ON EVERY SHIFT FOR
27
        OVER A SECOND. HAD AUDI OF STEVENS CREEK CHANGE DSG FLUID A
28      COUPLE OF WEEK PRIOR. *TR”




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 1    NHTSA Complaint on April 4, 2015 for 2010 Audi S4: “THE DSG TRANSMISSION IS
        VERY JERKY IN 1-2 GEARS IT OPERATES AS THOUGH THE CLUTCH IS NOT
 2      ENGAGING/DISENGAGING PROPERLY. WHEN TRAVELING AT HIGHWAY
        SPEEDS WITH THE CRUISE CONTROL ENGAGED THE ENGINE RPMS WANDER
 3      AS THOUGH THE CLUTCH IS ENGAGING AND DISENGAGING. STARTING
 4      FROM A DEADSTOP OR DRIVING AT LOW SPEEDS ARE VERY
        UNCOMFORTABLE DUE TO THE JERKY-NESS. *TR”
 5
 6    NHTSA Complaint on August 3, 2014 for 2010 Audi S4: “WHILE DRIVING IN RUSH
        HOUR BUMPER TO BUMPER TRAFFIC THE 2010 AUDI S4 WITH THE DSG S-
 7      TRONIC TRANSMISSION BECOMES VERY JERKY, CAUSING IT TO SURGE
        WHEN STARTING AND STOPPING OR DRIVING AT LOW SPEEDS. AS A RESULT
 8      IT IS HARD TO CONTROL, ESPECIALLY IN TIGHT TRAFFIC, PARKING AREAS,
 9      OR AROUND PEDESTRIANS. ADDITIONALLY, WHEN COMING TO A
        COMPLETE STOP WHEN IN THIS CONDITION THE SHIFT FROM 2ND GEAR TO
10      FIRST HAPPEN IN SUCH A WAY THE IT GIVE THE FEELING THAT THE CAR
        HAS BEEN REAR ENDED. *TR”
11
12    NHTSA Complaint on October 5, 2014 for 2010 Audi S4: “I WAS DRIVING ON A
        NORMAL STRETCH OF FLAT HIGHWAY APPROXIMATELY 65MPH AND THE
13      DASH LIT UP LIKE A CHRISTMAS TREE OUT OF THE BLUE. CAR INDICATED
14      REVERSE GEAR NOT AVAILABLE, TRANSMISSION WARNING LIGHTS, AND
        TIRE PRESSURE MONITOR SYSTEM PROBLEM ALL AT THE SAME TIME. CAR
15      WENT IN TO A "LIMP MODE" AND IT ONLY SHIFTED IN EVEN NUMBER
        GEARS, AND FELT LIKE THE CAR WAS DANGEROUSLY UNSTABLE DUE TO
16      ERRATIC MISSED SHIFTING. THE CAR HAD RECENTLY BEEN IN PRIOR FOR A
17      SERVICE CHECK AND HAD NO CODES OR CHECK ENGINE LIGHT PROBLEMS
        AT ALL! AFTER A LITTLE RESEARCH IT IS A WELL DOCUMENTED PROBLEM
18      THAT THE MECHATRONICS FAILS ON THIS VEHICLE RATHER OFTEN. THAT
        WAS THE PROBLEM. COST OF REPAIR WAS NEAR 3300$. I WAS
19
        APPROXIMATELY 4K MILES OUT OF WARRANTY WHEN THIS OCCURRED,
20      AFTER NUMEROUS PERSISTENT EXCHANGES WITH AUDI OF AMERICA THEY
        FINALLY DECIDED TO COVER THE FAILURE AS I WAS CONSIDERING
21      SEEKING LEGAL ACTION. ( I HAD THE PART IN HAND AND COULD SUBMIT
        IT TO FAILURE ANALYSIS ENGINEERING FOR CAUSE). ON AN POLL ON A
22
        POPULAR AUDI WEBSITE, APPROXIMATELY 15% OF THESE MECHATRONICS
23      HAVE FAILED. THE DESIGN ISSUE IS A CIRCUIT CARD EMBEDDED IN HOT
        TRANSMISSION FLUID THAT AFFECTS THE HYDRAULIC CONTROL OF THE
24      TRANSMISSION. IF THE TRANSMISSION IS DAMAGED IT CAN BE OVER A
        +10K$ REPAIR. *TR”
25
26    NHTSA Complaint on August 2, 2014 for 2010 Audi S4: “PULLED OUT OF PARKING
        LOT AND RECEIVED A GEARBOX MALFUNCTION WARNING ALONG WITH A
27
        TPMS MALFUNCTION. WARNING ON DASH INDICATED THAT I COULD
28      CONTINUE DRIVING. I DROVE VEHICLE FOR APPROXIMATELY ANOTHER
        MILE AND WHILE GOING THRU A ROUNDABOUT, THE CAR SHUT OFF. I WAS



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        ABLE TO PULL OVER TO THE SIDE OF THE ROAD AND GET THE VEHICLE
 1
        STARTED AGAIN. I CONTINUED THE REST OF THE WAY HOME FOR ABOUT 2
 2      MORE MILES. THE MECHATRONIC UNIT WAS DETERMINED TO BE FAULTY
        AND WAS REPLACED. *TR”
 3
 4    NHTSA Complaint on January 29, 2014 for 2010 Audi S4: “MECHATRONICS UNIT
        FAILURE IN DSG TRANSMISSION. HARD SHIFTS FROM 1ST TO 2ND AND 2ND
 5      TO 1ST WHILE STOPPING. (VEHICLE MAKES LOUD DRIVETRAIN BANG NOISE,
        SHAKES AND STOPS ABRUPTLY WHEN SLOWING DOWN AND TRYING TO
 6
        COME TO A STOP, ALMOST AS IF YOU SLOWED DOWN TO 5-10MPH AND THEN
 7      SLAMMED ON THE BRAKES.) *TR”

 8    NHTSA Complaint on December 17, 2013 for 2010 Audi S4: “MECHATRONICS UNIT
 9      FAILED IN THE VEHICLE AUTOMATIC TRANSMISSION. TRANSMISSION
        FAILURE MESSAGE LISTED ON CAR DASHBOARD. CAR WOULD NOT SHIFT
10      OUT OF 1ST GEAR AND THERE WAS NO REVERSE GEAR. CAR HAD TO BE
        TOWED TO THE DEALERSHIP FOR REPAIR. MULTIPLE WEB FORUM POSTS
11      STATED THE AUDI B8 MODELS SUFFERED THIS FAILURE FREQUENTLY. ”
12
      NHTSA Complaint on November 12, 2013 for 2010 Audi S4: “THE TRANSMISSION
13      BEGINS TO JERK AND SLAM CAUSING THE VEHICLE TO ACCELERATE JUST
14      PRIOR TO STOPPING IN STOP/GO TRAFFIC. NOTICED THAT THIS HAPPENS
        ONLY AFTER DRIVING IN STOP/GO SITUATIONS AND USUALLY AROUND
15      5MPH. ALSO CLANKS/JERKS WHILE IN REVERSE. DEALER KEEPS SAYING
        THEY CANNOT REPRODUCE”
16
17    NHTSA Complaint on April 10, 2017 for 2011 Audi S4: “GEARBOX MALFUNCTION
        WARNING AND THE TPMS MALFUNCTION CAME ON AT SAME TIME.
18      CONTINUED TO DRIVE IN LIMP MODE FOR ABOUT 1 MILE AND THE CAR
19      SHUT COMPLETELY OFF. START THE CAR BACK UP AND STILL SHOWING
        WARNINGS. GET IT HOME AND ATTEMPT TO PUT INTO REVERSE AND THE
20      CAR WON'T ENGAGE. I JUST HAPPENED TO START THE CAR AGAIN AND ALL
        LIGHTS WERE GONE. CAR WENT INTO ALL GEARS, DROVE FINE, AND GOT IT
21      TO THE DEALER. TWO HOURS LATER I GET IN TO GO TO THE STORE AND AS
22      SOON AS I SHIFT INTO D, THE TPMS AND GEARBOX MALFUNCTION LIGHT
        FLASH UP TELLING ME I HAVE NO REVERSE AND I’M STILL GOOD TO DRIVE.
23      SO I DECIDE TO DRIVE DOWN THE STREET AND SEE WHAT THE ISSUE IS. AS
        SOON AS THE CAR WENT TO SHIFT FROM 1ST TO 2ND IT SKIPPED, REVVED
24      IN NEUTRAL FOR ABOUT 2 SECONDS THEN DROPPED HARD INTO 3RD GEAR.
25      THE NEXT MORNING I WENT TO DRIVE THE CAR AND DROVE AROUND THE
        NEIGHBORHOOD WITH NO PROBLEM - NO ERROR MESSAGE, NO FAULTY
26      SHIFTING, NO JERKING OR ANYTHING. SO I DECIDED TO RUN TO THE STORE
        ABOUT 4 MILES AWAY AND SEE HOW IT HELP UP. I MADE IT TO THE STORE
27
        AND HALFWAY BACK BEFORE BOOM - IT HAPPENED AGAIN. CAR WILL
28      START IN 1ST GEAR FINE, WENT SHIFTING INTO 2ND IT SLIPS INTO NEUTRAL
        FOR ABOUT 2-3SEC THEN DROPS ABRUPTLY INTO 3RD, WHEN YOU HAVE



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        ENOUGH SPEED IT DOES THE SAME THING TRYING TO SHIFT INTO 4TH -
 1
        SKIPS AND DROPS INTO 5TH, SAME THING INTO 6TH - SLIPS OUT OF 5TH AND
 2      DROPS HARD INTO 7TH. SLOWING DOWN WAS NOT A HUGE PROBLEM AS
        LONG AS YOU HAVE PLENTY OF ROOM TO TAKE IT EASY. IF YOU SLOWED
 3      TO FAST THE GEARS WOULDN’T KEEP UP AND IT WOULD JERK VERY HARD.
        THIS IS A SERIOUS MATTER SINCE IT IS A SYSTEM FACTORY FAILURE WITH
 4
        THE DSG UNIT SIMPLE AS THAT. REASON WHY I AM CONTACTING THIS
 5      AGENCY AS THE CAR SHUT OFF ON ME WHILE YOU WERE DRIVING IT IN THE
        MIDDLE OF THE HIGHWAY AND I COULD HAVE BEEN HIT/KILLED THE FIRST
 6      TIME IT HAPPENED.”
 7
      NHTSA Complaint on December 29, 2016 for 2011 Audi S4: “DEC 5 2016, WHILE
 8      PULLING OUT OF MY DRIVEWAY IN ROUTE TO A SCHEDULED SERVICE
        APPOINTMENT AT AUDI OF ASHEVILLE, MY 2011 AUDI S4 LURCHED AND
 9
        SEVERAL WARNINGS CAME UP INCLUDING ‘DSG FAILURE, NO REVERSE,
10      TPMS WARNING’, FOLLOWED BY ‘YOU MAY CONTINUE TO DRIVE’. WITHIN
        5 MILES AND AT A SPEED OF APPROX 35 MPH THE VEHICLE SUFFERED A
11      CATASTROPHIC LOSS OF DRIVE AND CAME TO A STOP IN A TWO LANE
        ROAD, THE ENGINE WAS STILL RUNNING, BUT NO CONNECTION WITH THE
12
        REST OF THE DRIVE-TRAIN WAS EVIDENT. I BELIEVE THE "MECHATRONICS"
13      CONTROL UNIT FAILED CAUSING TOTAL LOSS OF DRIVE AND
        UNCONTROLLED, UNSYNCED GEAR CHANGES. I WAS APPROX 5 MILES
14      FROM BEING ON AN INTERSTATE WITH A 6% GRADE. VEHICLE IS ONE
15      OWNER, ORDERED AND SERVICED EXCLUSIVELY BY AUDI, 70000 MILES,
        NOT ABUSED. REQUIRES COMPLETE TRANSMISSION REPLACEMENT, WITH
16      THE NOTED EXCEPTION OF THE TRANSMISSION THERE WAS NOTHING
        MECHANICALLY WRONG WITH THE REST OF THE VEHICLE.”
17
18    NHTSA Complaint on August 22, 2016 for 2011 Audi S4: “AT ABOUT 49K MILES THE
        CAR WOULD SOMETIMES LURCH BACKWARDS WHEN IN REVERSE OR
19      GOING FROM REVERSE TO PARK. TOOK INTO MECHANIC. NO DIAGNOSTIC
20      CODES SHOWED UP. AROUND 60K MILES THE CAR OVERHEATED. AUDI
        STATED IT NEEDED A NEW THERMOSTAT WHICH WAS AROUND $1000.
21      DROVE THE CAR ACROSS COUNTRY FROM CA TO CO. AROUND 62K MILES
        CAR WENT INTO LIMP MODE AND WOULD NOT GET OUT OF 1ST OR 2ND
22      GEAR. "GEARBOX MALFUNCTION" WARNING CAME ON. STATED NOT TO GO
23      INTO REVERSE. DROVE HOME SLOWLY. NEXT MORNING ALL WARNING
        LIGHTS WERE OFF. TOOK TO MECHANIC. NO PROBLEMS COULD BE FOUND.
24      MAY 2016 AT 69K MILES CAR WENT INTO LIMP MODE AGAIN. COULDN'T GET
        RPMS UP. RESET CODES USING DIAGNOSTIC TOOL. DROVE FROM UTAH TO
25      CO. CAR WENT INTO LIMP MODE PROBABLY 40 TIMES ON I-70. CAR WOULD
26      LURCH FORWARD. MADE IT TO DEALER (PRESTIGE IN LAKEWOOD, CO).
        MECHATRONICS FOUND TO BE FAULTY AND CAR IN NEED OF ENTIRELY
27      NEW TRANSMISSION. COST $12,000. DEALERSHIP “PAID” $8000. I PAID $4000.
        THIS SEEMS TO BE A COMMON PROBLEM WITH THIS MAKE/MODEL/YEAR.”
28




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 1    NHTSA Complaint on April 19, 2016 for 2011 Audi S4: “DSG MECHATRONIC
        FAILURE. WAS REPLACED UNDER CPO WARRANTY. HOWEVER PROBLEM
 2      PERSISTS. WHILE DRIVING CAR GOES INTO NEUTRAL WITH TPMS +
        GEARBOX MALFUNCTION. THIS IS A KNOWN PROBLEM WITH AUDI S4 2010
 3      AND 2011.”
 4
      NHTSA Complaint on February 3, 2016 for 2011 Audi S4: “THIS VEHICLE SUFFERS
 5      FROM A FAULTY MECHATRONICS UNIT, CAUSING THE CAR TO MIS-SHIFT
 6      AND SURGE WHILE DRIVING, OR FAIL TO MOVE FORWARD WHEN STOPPED
        IN TRAFFIC IN "D" DRIVE, DUE TO PARKING BRAKE DRIVE-SELECT
 7      MALFUNCTIONS. IN THESE CASES THE CAR MUST BE TURNED OFF, IN
        TRAFFIC IN ORDER TO MOVE FORWARD AGAIN. THIS TECHNIQUE HAS
 8      WORKED SO FAR BUT I AM AFRAID THIS WILL NOT WORK EVENTUALLY,
 9      AND BECOME A SAFETY ISSUE ON THE ROADWAY.”

10    NHTSA Complaint on September 2015 for 2011 Audi S4: “VEHICLE WOULD EXHIBIT
11      STRANGE SHIFTING BEHAVIOR IN LOW GEARS. WHEN UPSHIFTING OR
        DOWNSHIFTING FROM 1-2-3 AND VICE VERSA THE TRANSMISSION WOULD
12      SOMETIMES HESITATE OR SHIFT INAPPROPRIATELY. AUDI DEALERSHIP
        UPDATED SOFTWARE AND CHECKED THE PROBLEM NUMEROUS TIMES.
13      THEY COULD NOT FIND ANY PROBLEMS NOT ANY ERROR CODES. PROBLEM
14      WOULD COME AND GO USUALLY WHEN IT WAS HOT OUTSIDE. A LITTLE
        OVER A YEAR (SEPT 2015) CAR HAS AGAIN BEEN ODDLY SHIFTING IN LOW
15      GEARS AND EVEN REVVING TO HIGH RPMS BEFORE DOWNSHIFTING IN
        AUTOMATIC MODE. CAR FINALLY THREW AND ERROR CODE SAYING
16      GEARBOX MALFUNCTION AND CAR WENT INTO LIMP MODE. THE
17      TRANSMISSION COULD NOT FIND THE RIGHT GEARS TO SHIFT. CAR HAS
        BEEN EXHIBITING SYMPTOMS OF MECHATRONIC UNIT FAILURE FOR OVER
18      A YEAR NOW.”
19
      NHTSA Complaint on September 22, 2015 for 2011 Audi S4: “AFTER TURNING MY
20      CAR ON A GEARBOX MALFUNCTION WARNING APPEARED BUT SAID I
        COULD CONTINUE DRIVING. AFTER DRIVING THE MESSAGE AND SERVICE
21      LIGHT EVENTUALLY WENT OFF WITH EVERYTHING GOING BACK TO
22      NORMAL. THE CAR APPEARS TO HAVE A VERY COMMON MECHATRONIC
        UNIT ISSUE THAT IS PART OF THE FAULTY DSG THAT AUDI HAS PUT IN THE
23      B8 S4 MODEL.”
24
      NHTSA Complaint on September 16, 2015 for 2011 Audi S4: “ROUGH/CLUNKING
25      SHIFTING IN STOP AND GO TRAFFIC. CAR WILL LURCH FORWARD, OR LACK
        POWER WHEN ACCELERATING”
26
27    NHTSA Complaint on January 7, 2015 for 2011 Audi S4: “I WAS ACCELERATING,
        AFTER LEAVING A RESTAURANT, INTO TRAFFIC. I RECEIVED THE "DSG
28      MALFUNCTION LIGHT" AND SUDDENLY AT ABOUT 20MPH MY LURCHED



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        FORWARD AND FAILED TO RESPOND TO THE THROTTLE AND SHUT OFF IN
 1
        TRAFFIC. CAR RESTARTED AFTER ABOUT 30 SECONDS BUT DEFINITELY NOT
 2      SOMETHING THAT SHOULD GO WITHOUT NOTICE. IF I WAS ON THE
        INTERSTATE AND THROTTLE WENT OUT SITUATION COULD HAVE BEEN
 3      MUCH WORSE. *TR”
 4
      NHTSA Complaint on January 6, 2015 for 2011 Audi S4: “I WAS CRUISING AT
 5      APPROX. 55MPH ON MY WAY TO WORK. I HAD NO SYMPTOMS OF ANYTHING
        PRIOR TO THE TRANSMISSION FAILURE. SUDDENLY THE CAR STARTED
 6
        VIBRATING AND DECELERATING AS IF I HAD A FLAT TIRE. I MADE AN
 7      EMERGENCY MERGE INTO THE CENTER MEDIAN AND WAS LUCKILY
        NOBODY REAR ENDED ME. AFTER INSPECTION OF MY TIRES WHICH WERE
 8      OK I GOT BACK IN CAR. D OR R WOULD NOT WORK. THE CAR WOULD NOT
        MOVE.”
 9
10    NHTSA Complaint on December 28, 2014 for 2011 Audi S4: “TRANSMISSION SHIFTS
        CLUNK WHEN COMING TO A STOP FROM 3, 2, TO 1, AND SHIFTS NOISILY AND
11      ABRUPTLY PARTICULARLY IN STOP AND GO TRAFFIC, OR IN EXTREME
12      TEMPERATURES IE MIDDLE OF SUMMER ON A HOT DAY. *TR”

13    NHTSA Complaint on December 1, 2014 for 2011 Audi S4: “AUDI RECENTLY
14      REPLACED MY 2ND THERMOSTAT (1ST WAS 11/2012 AND THE 2ND WAS
        11/24/2014), NOT UNDER WARRANTY, AND RETURNED MY CAR TO ME AFTER
15      HOLDING ONTO MY CAR FOR TWO WEEKS. I WAS TOLD THAT MY VEHICLE
        CHECKED OUT OKAY VIA A DIAGNOSTIC AND MECHANICS REVIEW. I
16      DROVE MY S4 FOR TWO DAYS AND WHILE DRIVING, I RECEIVED AN
17      INDICATOR WARNING THAT READ, GEARBOX MALFUNCTION REVERSE NOT
        AVAILABLE, YOU CAN STILL DRIVE. I THEN NOTICED THAT THE CAR BEGAN
18      TO VIOLENTLY BUCK WHEN I ACCELERATED. THE CAR SURGED FORWARD
        WHILE DRIVING IN TRAFFIC WHICH WAS ALARMING TO BOTH MY 10YR OLD
19
        DAUGHTER AND I. OTHER CARS HAD TO DRIVE AROUND US AND ONE
20      VEHICLE ALMOST HIT MY CAR IN THE REAR. I CONTINUED TO DRIVE AT A
        LIMITED SPEED AND IMMEDIATELY, THE TPMS WARNING INDICATOR LIT
21      UP AND THE CAR LOST SPEED. THE CAR WOULD BARELY MOVE AT 10 MPH
        AND I LIMPED BACK TO A RELATIVES UNDERGROUND PARKING GARAGE.
22
        ONCE I PARKED I COULD NOT GET THE CAR TO REVERSE OUT OF THE
23      PARKING SPACE. I CALLED AUDI AND THEY STATED THAT I WOULD HAVE
        TO TOW THE VEHICLE TO THE NEAREST AUDI SERVICE CENTER. THE
24      VEHICLE WAS TOWED TO AUDI AND I AM WAITING TO HEAR THE RESULTS
        OF THEIR FINDINGS. I HAVE ALREADY INVESTED OVER $1,750 IN VEHICLE
25
        REPAIRS (THERMOSTAT AND REAR BRAKES/ROTORS). I DO NOT WANT TO
26      CONTINUE TO INVEST MONEY INTO THIS VEHICLE PIT. AUDI NEEDS TO
        RECALL THESE FAULTY PARTS (THERMOSTAT AND MECHATRONIC) AND
27      STAND BEHIND THEIR PRODUCT. I'VE SEEN NUMEROUS COMPLAINTS IN
28      FORUMS AND ON THIS SITE REFERENCING THESE SAME ISSUES. *JS”




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 1    NHTSA Complaint on August 17, 2014 for 2011 Audi S4: “I CURRENTLY DRIVE A
        2011 AUDI S4 DSG AUTOMATIC VEHICLE. THE CAR BUCKS INTERMITTENTLY
 2      WHEN GOING FROM STOP TO 1ST-2ND-3RD GEAR OR VICE VERSA. IT
        USUALLY OCCURS IN SLOW TRAFFIC AND WHEN THE CAR/TRANSMISSION
 3      HAS BEEN ON FOR AWHILE. THE CAR WAS TAKEN TO AUDI FOR REPAIR AND
 4      THE SOFTWARE AND ADAPTABILITY WAS UPDATED. THIS HELPED SMOOTH
        OUT THE SHIFTS BUT THE CAR STILL CONTINUED TO BUCK AT TIMES
 5      (ESPECIALLY IN DYNAMIC MODE), THE CAR WAS TAKEN BACK TO AUDI
        AGAIN, BUT THE TECHNICIANS DID NOT FIND ANY PROBLEMS WHEN
 6
        DRIVING THE CAR. THE PROBLEM SEEMS TO BE A FAULTY MECHATRONIC
 7      UNIT WHICH IS KNOWN TO FAIL IN EARLY 2010-2011 S4'S. MULTIPLE PEOPLE
        HAVE GONE THROUGH THE SAME PROBLEMS UNTIL THIS UNIT WAS
 8      REPLACED. AUDI OF AMERICA HAS BEEN CONTACTED AND DID NOT OFFER
        ANY SOLUTION AT THIS TIME.”
 9
10    NHTSA Complaint on January 7, 2014 for 2011 Audi S4: “WHILE TRAVELING AT
        APPROXIMATELY 40 MPH, A WARNING MESSAGE CAME UP DO THE
11      DASHBOARD SAYING "GEARBOX MALFUNCTION, REVERSE GEAR NOT
12      AVAILABLE, YOU CAN STILL DRIVE". AT THE SAME TIME, THE TPMS
        WARNING INDICATOR CAME ON. THE CAR BEGAN TO LOOSE SPEED AND
13      WOULDN'T RESPOND TO THE THROTTLE, AFTER A FEW SECONDS IT WOULD
        SURGE FORWARD, AND THEN LOOSE SPEED AGAIN. THIS REPEATED A FEW
14
        TIMES, UNTIL I CAME TO A STOP AT AN INTERSECTION. AT THE
15      INTERSECTION, I TURNED OFF THE IGNITION AND RESTARTED THE CAR.
        THE CAR BEHAVED NORMALLY FOR ABOUT 25 MINUTES OF DRIVING. THEN
16      ON THE FREEWAY AT ABOUT 65 MPH THE PROBLEM RECURRED. I WAS ABLE
        TO LIMP TO THE NEAREST AUDI DEALERSHIP, WHERE THE CAR IS NOW
17
        BEING EVALUATED. I'M VERY CONCERNED ABOUT THIS ISSUE, BECAUSE AT
18      TIMES I WAS UNABLE TO MAINTAIN THE SAME SPEED AS THE FLOW OF
        TRAFFIC AND AN ACCIDENT COULD HAVE OCCURRED. *TR”
19
20    NHTSA Complaint on October 23, 2012 for 2011 Audi S4: “THIS ISSUE CONCERNS
        MY AUDI 2011 S4, A CAR THAT I TOOK DELIVERY ON IN APRIL, 2011. I HAVE
21      HAD NUMEROUS PROBLEMS WITH THE CAR SINCE THE DELIVERY,
        HOWEVER, IT IS A SAFETY CONCERN THAT HAS CAUSED THIS SPECIFIC
22
        FILING. THE PROBLEM SEEMS TO BE WITH THE DSG TRANSMISSION. ON
23      OCCASION, THE CAR WILL STRUGGLE AND "BUCK" IN LOW GEARS AT A
        VERY SLOW SPEED (OR FROMA COMPLETE STOP) UPON ACCELERATION.
24      THIS DOES NOT HAPPEN OFTEN BUT IT HAS HAPPENED SEVERAL TIMES
        SINCE TAKING DELIVERY. I HAVE TRIED ADDRESSING THE PROBLEM WITH
25
        AUDI CORAL SPRINGS IN THE PAST BUT BECAUSE I CANNOT DUPLICATE
26      THE PROBLEM, THEY ARE UNABLE TO HELP. CONSEQUENTLY, I HAVE NOT
        BEEN ABLE TO ALWAYS DRIVE THE CAR IN THE MANNER THAT I WOULD
27      LIKE TO. HOWEVER, ON OCTOBER 9, 2012, THE PROBLEM HAPPENED AGAIN,
28      ONLY THIS TIME, IT OCCURRED WHILE ATTEMPTING TO MERGE INTO
        TRAFFIC. I WAS IN A MERGE LANE, TRAVELING APPROX 3-5 MPH AND WHEN



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        THE OPPORTUNITY AROSE, I ACCELERATED INTO THE TRAFFIC. AT THAT
 1
        PRECISE MOMENT, THE CAR BUCKED VIOLENTLY (AS IT HAS DONE IN THE
 2      PAST) AND I HAD TO LIFT OFF THE THROTTLE TO CORRECT THE ISSUE. LET
        ME EXPRESS THAT I IN NO WAY AM ATTEMPTING TO CAUSE PROBLEMS FOR
 3      AUDI. I AM ONLY CONCERNED FOR MY SAFETY. ITS QUITE CONCEIVABLE
        THAT WHEN MY CAR HAS THIS TROUBLE WHILE MERGING INTO TRAFFIC
 4
        THAT I COULD GET HIT FROM BEHIND AS I MUST IMMEDIATELY LIFT OFF
 5      THE ACCELERATOR TO RESOLVE THE ISSUE. *TR”

 6
      NHTSA Complaint on July 6, 2017 for 2012 Audi S4: “PREMATURE TRANSMISSION
 7      MECHATRONIC FAILURE. CAR UNABLE TO REVERSE DURING A 3 POINT
        TURN IN A ROADWAY ACROSS TRAIN TRACKS. SINCE NEW THE CAR HAD A
 8      CLUNKY TRANSMISSION. IT PROGRESSIVELY GOT WORSE BUT WHEN
        BROUGHT TO THE DEALER IT WAS ALWAYS, "OPERATING WITHIN
 9
        MANUFACTURER'S SPECIFICATIONS" THIS IS THE 2ND AUDI IN A ROW THAT
10      HAS BEEN BROUGHT IN MULTIPLE TIMES FOR A PROBLEM THAT THE
        DEALER CLAIMS ISN'T A PROBLEM AND IS "OPERATING IN SPECS OF THE
11      MANUFACTURER".
12
      NHTSA Complaint on June 14, 2017 for 2012 Audi S4: “DSG TRANSMISSION IS
13      SHIFTING VERY ROUGH AND SOMETIMES SLIPS. ALSO LURCHES FORWARD
        SUDDENLY FROM A STOP CAUSING THE CAR TO LUNGE FORWARD.”
14
15    NHTSA Complaint on April 17, 2017 for 2012 Audi S4: “GEARBOX MALFUNCTION
        (WITH CODES P179E AND P179F) MAY CAUSE THE CAR ENTER ONE OF THE
16      "LIMP MODE" STATES, WHICH CAN CUT ENGINE POWER FROM THE
17      TRANSMISSION. A MESSAGE ON THE DASH MAY SAY "GEARBOX
        MALFUNCTION" WITH A MESSAGE IF THE CAR IS DRIVEABLE OR MUST BE
18      BROUGHT TO THE REPAIR SHOP. IN SOME CASES, THIS LOSS OF POWER CAN
        MAKE THINGS DIFFICULT TO PULL OVER SAFELY, AS THE STALL CAN
19
        HAPPEN IN AN INTERSECTION, OR IN STOP AND GO TRAFFIC ON THE
20      FREEWAY. AUDI HAS RECOGNIZED THIS PROBLEM IN THE FORM OF A TSB
        (2032211), HOWEVER, ALL CARS WITH THIS PARTICULAR TRANSMISSION
21      MAY EXPERIENCE A SIMILAR ISSUE, AT ANY TIME, DESPITE FOLLOWING
        MANUFACTURER SERVICE INTERVALS. THE ISSUE MAY APPEAR TO BE
22
        INTERMITTENT AND MAY NOT ENTER FULL LIMP MODE UNTIL MANY MILES
23      LATER. MY INITIAL ENCOUNTER WITH QUESTIONABLE TRANSMISSION
        BEHAVIOR WAS ABOUT 10-15K MILES PRIOR. THIS PARTICULAR CASE
24      DOCUMENTED WAS THE WORST SCENARIO, BUT SIMILAR SCENARIOS
        (COMING OFF THE FREEWAY AND STALLING SHORTLY AFTER STOPPING, OR
25
        NOT BEING ABLE TO ENGINE BRAKE PROPERLY DUE TO TRANSMISSION
26      REFUSING TO SHIFT) HAVE ALSO BEEN EXPERIENCED.”

27
      NHTSA Complaint on October 24, 2015 for 2012 Audi S4: “DSG TRANSMISSION
28      STARTED TO SHIFT POORLY. SHIFTS WOULD "SLIP" BETWEEN GEARS AND
        SOMETIMES IT WOULD DOWN SHIFT VERY HARD. THIS OCCURED MOSTLY



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        IN URBAN DRIVING, STOP AND GO.”
 1
 2    NHTSA Complaint on September 16, 2015 for 2012 Audi S4: “VERY ABRUPTLY
        SHIFTS UP OR DOWN LAUNCHING THE CAR FORWARD WITHOUT WARNING”
 3
 4    NHTSA Complaint on March 19, 2015 for 2012 Audi S4: “I OWN A 2012 AUDI S4 WITH
        A 7 SPEED DSG TRANSMISSION AND NOTICE HARD SHIFTING IN 1-2 AND 2-1
 5      AND ALSO INTO REVERSE AND DRIVE. I HAVE READ ABOUT THIS BEING A
 6      MECHTRONICS UNIT OR WHOLE REPLACEMENT OF THE TRANSMISSION
        CAN BE NEEDED. AFTER BRINGING THE CAR INTO AUDI 4 TIMES WITH
 7      THESE ISSUES THEY FINALLY SAID THAT I NEED TO REPLACE THE TCU AND
        UPDATE SOFTWARE ON THE ECU. I ASKED IF THIS WILL FIX THE ISSUE AND
 8      THEY SAID THAT THIS REPAIR WILL BE THE FIRST IN AN ORDER OF PARTS
 9      TO BE REPLACED TO HOPEFULLY FIX THE PROBLEM. NEXT WOULD BE THE
        MECHTRONICS OR THE ENTIRE TRANSMISSION. I BOUGHT THE CAR WITH
10      29K MILES AND 8 MONTHS LEFT ON THE FACTORY WARRANTY FROM A
        LOCAL SMALL DEALERSHIP. AFTER PURCHASING THE CAR AND GOING TO
11      THE DEALER WITH THESE ISSUE 4 TIMES..NOW THEY TELL ME AUDI VOIDED
12      THE POWER TRAIN WARRANTY OF THE CAR AT 5K MILES DUE TO A ECU
        TUNE. SO THEY ARE DENYING THE CLAIM. I TALKED TO A LOCAL TUNER TO
13      SEE IF THE CAR HAD A TUNE ON THE ECU..THEY SAID NO..I ALSO CALLED
        SEVERAL NATIONWIDE TUNERS TO ASK THEM IF MY CARS VIN WAS ON
14
        RECORD OF GETTING A TUNE AND THEY SAID NO. SO SINCE IT WAS BEFORE
15      I BOUGHT THE CAR I DO NOT KNOW WHAT COMPANY OR FOR HOW LONG IT
        WAS TUNED FOR. THE LOCAL DEALER NEVER TOLD ME WHILE BRINGING
16      THE CAR IN FOR TRANSMISSION ISSUES THAT I DID NOT HAVE A POWER
        TRAIN WARRANTY UNTIL A MAJOR COST WAS INVOLVED. HEY KNOW
17
        THERE ARE PROBLEMS WITH THESE TRANSMISSION HENCE THE UPDATED
18      TCU AND SOFTWARE UPDATE TO THE ECU AS WELL AS THE UPDATED
        PART# OF THE MECHTRONICS UNIT THEY WOULD REPLACE IT WITH. THIS
19      SHOULD BE SOMETHING AUDI SHOULD COVER UP TO 100K WITH A TUNE
20      ECU OR NOT. A ECU TUNE HAS NO CONTROL OVER THE TRANSMISSION TCU
        OR THE PARTS IN THE TRANS.”
21
22
      NHTSA Complaint on November 8, 2016 for 2013 Audi S4: “THE PROBLEMS
        STARTED BY A WARNING ON MY DISPLAY SAYING TO PULL OVER GEAR
23      BOX OR TRANSMISSION FAILURE. YOU HAVE SECONDS TO PULL OVER
        BEFORE THE CAR NO LONGER FUNCTIONS. EVEN THOUGH YOU ARE IN
24      GEAR ALL THAT HAPPENS IS THE ENGINE REVS AND YOU GO NO WHERE.
        MY CAR HAS ONLY 38,500 MILES ON IT AND IS OUT OF WARRANTY BY A
25
        COUPLE OF MONTHS. I HAD THE CAR TUNED ADDING SOMEWHERE AROUND
26      100 HP 6,000 MILES BEFORE THIS HAPPENED AND AUDI SAYS THIS IS WHAT
        CAUSED THE ISSUE. TO FIX THE SENSOR ERROR CODE P179E00 WAS AROUND
27      $5,000. 00 EVEN THOUGH THERE HAS BEEN A SERVICE BULLETIN OUT FOR
28      THIS PROBLEM FOR MORE THAN A YEAR. AFTER LOOKING AROUND
        DECIDED TO HAVE AUDI DO THE REPAIR BUT WITHIN AN HOUR OF LETTING



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        THEM KNOW TO GO AHEAD WITH REPAIRS THEY CALLED ME BACK AND
 1
        TOLD ME THAT IT COULD BE THE WHOLE TRANSMISSION WHEN THEY
 2      TESTED THE FLUID IT CAME BACK WITH SOME METAL SHAVING IN IT. THIS
        WOULD BE A $12,000.00 REPAIR. THE SAFETY OF THIS TRANSMISSION IS IN
 3      QUESTION FOR THE FACT THAT THERE HAS BEEN A SERVICE BULLETIN OUT
        FOR THIS TRANSMISSION EVEN THOUGH AUDI OF AMERICA DENIES THAT
 4
        MY VIN IS PART OF THE SERVICE RECALL. IT IS PRETTY SCARY WHEN YOU
 5      DRIVING AND THE TRANSMISSION JUST SHUTS DOWN AND YOU AND YOU
        CAR ARE JUST STUCK IN TRAFFIC AS CARS DODGE YOU AND FLY BY YOU
 6      AND YOU DEAD CAR.”
 7
      NHTSA Complaint on October 15, 2016 for 2014 Audi S4: “WHILE DRIVING, A
 8      SUDDEN BRAKE FOLLOWED BY A QUICK ACCELERATION LEADS TO
        BUCKING WITH ACCELERATION AND THE ENGINE REMAINING REVVED UP.
 9
        WITH BRAKING, THE CAR LUNGES FORWARD. THE ONLY WAY TO CHANGE
10      IT IS BY SHUTTING THE CAR OFF ENTIRELY. HAS OCCURRED AT LEAST 7
        TIMES IN PASSED 2.5 YEARS. RESEARCH INDICATES A FAULTY
11      MECHATRONICS UNIT, BUT 2 NY DEALERSHIPS CONTINUE TO STATE NO
        ISSUE.”
12
13    NHTSA Complaint on March 23, 2016 for 2010 Audi S5: “2010 AUDI S5 S-TRONIC
        TRANSMISSION JUMPS AND JERKS WHEN COMING TO A COMPLETE STOP.”
14
15    NHTSA Complaint on September 18, 2016 for 2010 Audi S5: “WHEN DRIVING IN HOT
        WEATHER, ON A BUSY BOULEVARD, COMING TO A RED LIGHT, AS
16      AUTOMATIC TRANSMISSION SHIFTS DOWN TO FIRST GEAR, CAR LURCHES
17      FORWARD WITH A STRONG BANG IN THE TRANSMISSION. ALMOST HIT
        PEDESTRIANS IN THE CROSSWALK. IF I WAS NOT HEAVY ON THE BRAKE
18      PEDAL THERE WOULD NO DOUBT HAVE BEEN INJURIES. THIS IS NOT AN
        ISOLATED INCIDENT. IT HAS HAPPENED MANY TIMES AND WITHOUT
19
        WARNING. AUDI SERVICE TELLS ME IT IS THE MECHATRONIC UNIT IN THE
20      TRANSMISSION MALFUNCTIONING WHEN IT GETS HOT. NEEDS TO BE
        REPLACED. I HAVE BEEN COMPLAINING ABOUT THIS TO AUDI SERVICE FOR
21      MORE THAN FOUR YEARS AND IT IS GETTING WORSE. AUDI HAS BEEN
        STALLING AND HAS REFUSED TO REPLACE THE MECHATRONIC UNIT
22
        UNDER WARRANTY.”
23
      NHTSA Complaint on November 20, 2015 for 2010 Audi S5: “TL* THE CONTACT
24      OWNS A 2010 AUDI S5. THE CONTACT STATED THAT THE VEHICLE LUNGED
25      FORWARD WITHOUT WARNING WHEN THE GEAR ENGAGED. THE DEALER
        DIAGNOSED THAT THE MECHATRONICS WAS DEFECTIVE AND NEEDED TO
26      BE REPLACED. THE VEHICLE WAS REPAIRED; HOWEVER, THE FAILURE
        PERSISTED. THE CONTACT MENTIONED THAT THE VEHICLE WENT BACK TO
27
        THE DEALER TWO MORE TIMES AND THE TECHNICIAN DIAGNOSED THAT
28      THE TRANSMISSION NEEDED TO BE REPLACED. THE MANUFACTURER WAS
        NOT MADE AWARE OF THE FAILURE. THE VEHICLE WAS NOT REPAIRED.



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       THE FAILURE MILEAGE WAS 65,000.”
 1
 2    NHTSA Complaint on October 9, 2015 for 2010 Audi S5: “THERE IS A KNOWN
       PROBLEM WITH THE AUDI S-TRONIC TRANSMISSION WHERE THE
 3     MECHATRONICS UNIT WHICH CONTROLS THE SHIFTS IS DEFECTIVE. THIS
 4     WILL RESULT IN THE MECHATRONIC NEEDING TO BE REPLACED TO THE
       TUNE OF 4 THOUSAND DOLLARS OR AT WORST THE TRANSMISSION TO BE
 5     REPLACED FOR 11 THOUSAND DOLLARS. THE CAR WILL START DOING
       HARD 2 TO FIRST SHIFTS AND ALMOST THROW YOU INTO THE CAR IN FRONT
 6
       OF YOU IF YOU DO NOT PUSH DOWN HARD ON THE BRAKES. THIS HAPPENS
 7     ON A CITY STREET OR IN HEAVY TRAFFIC ON THE HIGHWAY AND BEGINS
       WHEN THE TRANSMISSION OIL GETS HOT. TECHNICALLY THE VEHICLE CAN
 8     BE IN MOTION OR STATIONARY AS IT HAPPENS WHEN IT SHIFTS DOWN TO
       FIRST GEAR. THIS TRANSMISSION IS IN THE 2010 AUDI S5 CABRIOLET ONLY
 9
       AS THE COUPE HAS A DIFFERENT DRIVETRAIN. THE AUDI S4 HAS THE
10     TRANSMISSION AS WELL AND EXPERIENCES THE SAME ISSUES.”

11    NHTSA Complaint on September 16, 2015 for 2010 Audi S5: “AFTER DRIVING IN
12     STOP AND GO DRIVING FOR A PERIOD OF TIME THE TRANSMISSION STARTS
       TO ACT UP. WHEN COMING TO A COMPLETE STOP THE CAR WILL SHIFT
13     DOWN INTO FIRST GEAR AFTER THE STOP AND CAUSE THE CAR TO LEAP
       FORWARD. I HAVE ALMOST REAR ENDED SEVERAL CARS AS A RESULT OF
14
       THIS. IT IS A WELL KNOW PROBLEM WITH THE AUDI S-TRONIC
15     TRANSMISSIONs FOUND IN THE AUDI S5 CABRIOLET AND THE AUDI S4
       MODELS. THE OIL IN THE MECHATRONICS UNIT HEATS UP AND CAUSES
16     PROBLEMS WITH THE CIRCUITRY WHICH CAUSES THE ISSUE. I HAVE
       ALREADY HAD IT IN ONCE FOR A "SOFTWARE UPDATE" TO THE TUNE OF 800
17
       DOLLARS WHICH DID NOTHING. NOW IT IS LOOKING LIKE THEY WILL NEED
18     TO REPLACE THE COMPONENT WHICH CAN COST UP TO 11 THOUSAND
       DOLLARS IF THE TRANSMISSION HAS BEEN DAMAGED.”
19
20    NHTSA Complaint on January 18, 2017 on 2011 Audi S5: “UNABLE TO GET PARTS
       FOR FAULTY MSE TRANSMISSION CURRENTLY IN MY 2011. AUDI UPGRADED
21     BECAUSE OF KNOWN PROBLEMS TO NSY MODEL TRANSMISSION AND
       EXPECTS OWNER TO PAY EXPENSE. THEY DID NOT AND HAVE NOT MAKE
22
       THE CUSTOMER/CONSUMER AWARE OF THIS UNTIL YOU FORCED TO TAKE
23     IT IN FOR SERVICE DUE TO SENSORS AND LIMITED FUNCTIONALITY IN
       DRIVING CAPABILITIES. VEHICLE HESITATES AND DROPS GEARS WHILE IN
24     MOTION. THIS OCCURRED ON A MAJOR HIGHWAY CREATING A HAZARDOUS
       EVENT, IN ADDITION THEY WILL ALSO CHARGE YOU FOR A DIAGNOSIS AND
25
       BOGUS SERVICE WHILE THEY ARE ALREADY AWARE THAT THE PARTS ARE
26     NOT AVAILABLE FOR THAT TRANSMISSION. UPON RESEARCH I HAVE
       FOUND THIS IS NOT AN ISOLATED PROBLEM, OR DUE TO DRIVING, MILEAGE,
27     WEAR AND TEAR, PREVIOUS OWNER, LACK OF WARRANTY OR WHATEVER
28     ELSE THEY WANT TO COME UP WITH. *TR”




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 1        NHTSA Complaint on October 17, 2017 for 2013 Audi RS5: “THE MECHATRONIC
            UNIT ON MY VEHICLE NEEDED TO BE REPLACED. I WAS DRIVING AND A
 2          WARNING POPPED UP ON MY DASHBOARD SAYING "TRANSMISSION
            MALFUNCTION, YOU MAY CONTINUE DRIVING". I WAS QUOTED $5000 FOR
 3          THE . THIS IS A COMMON ISSUE NOT ONLY WITH MY MODEL, BUT ACROSS
 4          ALL AUDI MODELS WITH THE DSG TRANSMISSION. AUDI CUSTOMERS
            SHOULD NOT BE FORCED TO PAY FOR AUDI PUTTING FAULTY EQUIPMENT
 5          IN THEIR VEHICLES.”
 6
              Consumer complaints from non-NHTSA websites include, but are not limited to, the following:
 7
 8        Complaint on February 01, 2012 for a 2010 S4 on Carcomplaints.com: When in traffic in
            2nd gear, when I start to accelerate, the car feels like it changes gear automatically and
 9          almost feels like it wants to stall before jerking and pulling off. The actual gear does not
10          change though. In peak hour traffic is very annoying and to think this is a high performance
            car and most expensive and luxurious one I have eve purchased. I expect comfort when
11          driving, but whe in slow traffic, the drive is VERY uncomfortable and frustrating. It has
            been to the same Audi dealer 4 times and the problem is only fixed temporarily and then
12          revers back to its usual habit. I purchased the car bring new in the 1 st week of January and
13          started noticing the problem from about 500km. I thought the engine was just running in
            so I only reported it officially at 1000km. I have now driven it for 7000 and still the problem
14          cannot be fixed.The technician struggle to replicate the problem but when I drive it all the
            time, the problem is there. What do I do?8
15
16        Complaint on September 9, 2010 for 2010 S4 on Audi World: Hello guys (sorry for my
            english, i need your advice with S-TRONIC. I have S5 sportback (with V6T engine with
17          2700 miles) and here is my problem (if its problem or not?) : My S-tronic doesnt have any
18          problem of that i found on internet, its all smooth on first and second gear, no problems
            overall. But if i hold acceleration pedal down, wait until RPM is on max (7000) and then
19          is gearbox upshifting on next gear ... its also with no problem. I get problem when i drop
            foot from acceleration pedal exactly in second when engine reach max RPM and gearbox
20
            is upshifting - i get strongly jerk. If i drop foot at 6800 or 6900 rpm, or wait second on
21          pedal to let gearbox upshift and then i drop foot, its all with no problem and smooth. Is it
            normal, or problem? I really dont know if i should visit service or just let it be . Thank you
22          very much for your help, i hope you all understand what i wrote ,-).9
23
          Complaint on September 29, 2010 for 2010 S4 on Audi World: It's a problem. The DSG
24          decides what it's going to do about 2 seconds before it actually does it. I sometimes get a
            nasty shifts because I nail it during the limbo time between when the DSG has decided to
25
26
27   8
      https://www.carcomplaints.com/Audi/S5/2011/transmission/transmission_jerks.shtml
     9
28     https://www.audiworld.com/forums/s4-b8-platform-discussion-134/s-tronic-jerking-problem-
     2791637/page2/



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             upshift and when it actually executes the upshift.10
 1
 2         Complaint on 8/24/2010 on Audi World: to give you guys a little info if you encounter a
             gearbox malfunction notice. First off, my car was built in Oct '09 and has 14K miles on it.
 3           A couple of days ago I was pulling out of a parking lot and I hear a chime and get a
 4           "Gearbox malfunction, you can continue driving" notice in my display then it went away.
             It happened again about 4 hours later, but the car still felt normal.I took my car to the dealer
 5           the next day and found out my transmission was overheating, causing the light. But the
             tech didn't understand why the transmission was overheating. Of course I was asked, do I
 6
             have any mods on the car or was I driving the car very hard up and down mountain roads
 7           when I got the malfunction. I told them no and they sent the downloaded information to
             Audi. The next day I was told Audi recommended replacing the mechatronic since the car
 8           is still under warranty. I currently live in Italy and was told it could take 3 weeks to get the
             part in. Needless to say I wont be driving the car much, even though there are no
 9
             driveability issues.Kudos to Audi for wanting to make things right the first time...that
10           mechatronic costs 1100 euros. Hopefully the wait wont be so long. I'll keep you guys
             posted.11
11
12         Complaint on November 30, 2011 for a 2011 S4 on Audi World: I have a 2011 S4 with an
             S-tronic transmission with a design problem. It was verified by my Audi dealer. If you wish
13           to find out if your DSG/S-tronic transmission has the same design defect, check it out as
             follows: Put your transmission in manual mode. Under wide open throttle, accelerate
14
             through first gear and shift out of first gear at 6100 or higher (up to 7000 redline). Stay at
15           wide open throttle in 2nd gear. If your car has the design defect, it will shift out of second
             gear on its own, between 4000 and 5000 rpm!! Obviously, this is not what Audi intended.
16           I can take the car to redline in any other gear--just not 2nd. The defect is in the mechatronic
             unit, but replacing it only fixes the problem half the time. If you check this out, please post
17
             your finding as a reply to this thread. I've already run across three B8 S4's with this
18           problem.12

19
           Complaint on November 30, 2011 for a 2011 S4 on Audi World: I can't verify as my car is
20           in the body shop. However, I have noticed while in manual mode, I go to shift manually
             out of first and the car shifts at the same time and I then find myself in 3rd. Very
21           annoying.What is more worrying is that if this is not the designed intent of the DSG why
             is there no clear fix. It almost makes M mode, dare I say worthless?13
22
23         Complaint on December 20, 2011 for a 2011 S4 on Audi World: My car does the same
24
     10
25      Id.
     11
        https://www.audiworld.com/forums/s4-b8-platform-discussion-134/s-tronic-owners-gearbox-
26   malfunction-2789503/page2/-Just
     12
27      https://www.audiworld.com/forums/s4-b8-platform-discussion-134/new-b8-s4-s-tronic-design-
     defect-2817650/
     13
28      https://www.audiworld.com/forums/s4-b8-platform-discussion-134/new-b8-s4-s-tronic-design-
     defect-2817650/page10/



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              thing in 2nd gear. Very annoying. I've posted about it before. AoA said it was to protect
 1
              the motor from extreme torque. I say thats bull crap. Please keep us posted on what they
 2            do for you. Good luck. And yes its a $55k car and it should work properly for that amount
              of dough.14
 3
 4         Complaint on December 26, 2011 on Audi World: No need for apologies. I had/have a
              DSG issue and posted it on multiple Audi forums as well trying to get an answer for what
 5            I was experiencing.15
 6
           Complaint on December 26, 2011 for a 2011 S4 on Audi World: Thanks for your input
 7            Northskatea4. As I noted in an earlier post, Audi USA has offered me $2000 towards a new
              vehicle. Of course, this isn't much of an offset, but, with current manufacturer to dealer
 8            rebates of $2500 for the 2011 S4, cumbined with other dealer incentives, it's not bad. What
 9            I really want is for Audi to simply offer a DSG software reflash to solve this glitch. I'm
              hopeful that if enough of us Audi B8 S4 owners speak out about this problem in an open
10            forum (and to our customer reps at Audi USA) Audi may be motivated to fix this issue. I
              doubt if there will ever be a recall, as this isn't a safety issue. But I still believe Audi will
11            help those who have identified the problem to them. There is power in numbers.16
12
           Complaint on December 28, 2011 for a 2012 S4 on Audi World: Agreed...seems more like
13            a software anomaly. My 2012 short shifts 1st and 2nd in manual mode but runs to redline
14            in auto mode. I'm going to try again in a bit without pressing the kickdown button. Might
              be that manual mode + accelerator to floor incites this behavior.17
15
16         Complaint on December 28, 2011 on Audi World: Whether in auto or manual mode, I am
              not able to shift under WOT. It goes straight to the red line and shifts automatically. I
17            cannot shift at will at any point, ie early or late. I feel it defeats the purpose of the manual
              shift via paddles or shifter. I had an audi mechanic observe this in my car. Despite
18            acknowledgement regarding my vehicle, his response was that it did not occur in the 2011
19            he test drove the day after. I contacted Audi regarding this. I think they said it was a safety
              feature (reference to kickdown). I still struggle with that and haven't posted anything about
20            it sense. I apologize if this is off-topic or if already discussed. I did post my issue a long
              time ago, however it appeared that few could relate. Has anyone else experienced this? I
21            will support the group here complaining about the S-tronic if it will resolve my issue.18
22
           Complaint on December 29, 2011 on Audi World: Exactly we need to keep the pressure
23            on. DSG is sold as a performance improvement with racing heritage. Right now we have a
24            hobbled transmission that does not behave as advertised. The Audi company line of does
              not hold up. "Safety" overrides Coincidentally I received 2 letters in the mail yesterday
25
26   14
        Id.
     15
27      Id.
     16
        Id.
     17
28      Id.
     18
        Id.



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              from a law firm over the High Pressure Fuel Pump issue on the BMW N54 engine (I owned
 1
              2 335i's). However, if we don't here something soon from Audi the law firm might be
 2            hearing from us.19

 3         Complaint on January 1, 2012 (maybe for a 2010 S4) on Audi World: None taken. I am
 4            not sure there was as much info at the time I bought. I purchased my car late 2009. I
              understand and can appreciate that you are trying to dispell there is a defect. I can also
 5            appreciate, defect or not, those highlighting certain apects of the s-tronic. This is useful for
              both owners and prospective buyers. It would have been for me.20
 6
 7         Complaint on January 7, 2012 for a 2011 S4 on Audi World: Round 1 with the dealer, who
              claims they can not get the transmission to up or downshift without hitting the paddle. They
 8            claim they could not even reproduce the kick down button downshift or the upshift at
 9            6500rpm in 1st and 2nd gear I recorded and sent video of both the 6500rpm up and kick
              down shift and the early 2-3 shift. This weekend I hope to get video of the "random"
10            shifting it does at times. Random in quotes because the more experiments I do the more
              I'm convinced these are reliability and safety nannies built into the software that are buggy
11            when presented with stressful or less predictable inputs. They are a little harder to
12            reproduce. BTW, these are not new transmissions nor is the desired behavior in
              performance situations any mystery. Sequential and semi-manual gearboxes have been
13            around since the early 1900's. F1 first started racing with them in the early 70's. VAG in
              production since the late 60's. VAG was racing with them in the early 80's and offering
14
              them in production cars in the early 90's. I've personally been racing or doing track days
15            with sequential gearboxes since 1989.21

16         Complaint on January 17, 2012 for a 2011 S4 on Audi World: This is true. The dealer wrote
17            me off. They said they couldn't duplicate the problem. Test drove for 30 min and used a
              1/4 tank of my gas. I jumped in the car to take it home and it happened right away. I don't
18            trust them now. 22
19
           Complaint on January 21, 2012 for a 2011 S4 on Audi World: I cant get the DSG to
20            misbehave on que, especially when I am at service. But it definitely malfunctions at times
              in the lower gears or if I punch it at standstill which is when it happens the most. Vast
21            majority of time it runs ok but when it craps out, its disturbing. Has anyone ever considered
22            on filing with the Better Business Bureau on the DSG issues? I am considering it. If all of
              those who are unhappy with th DSG clunking out in the lower gears or any other issues it
23            has had, maybe this is the best approach? I am taking my car into the shop this week. If
              they cant fix it then I am really considering asking for a buyback which I really dont want
24            to do. BTW, I know someone who was telling me he had a VW wth a DSG and he had all
25            kinds of issues. I dont know if its the same DSG system, just saying what he told me I

26
     19
27      Id.
     20
        Id.
     21
28      Id.
     22
        Id.



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             really like the S4 but I dont think AUDI is being honest and forthright with the DSG issues.
 1
             But I do have another sedan in the family and If these issues continue, I would get rid of
 2           the S4 through a buyback request or some other means, Sell the vette and look into a pre-
             owned 2010 911 Turbo PDK. Even a pre-owned is expensive but so far I have heard good
 3           things about the PDK. Anyone hear differently? BTW, thought about a 2010 AUDI R8 too
             until I read about the r-tronic issues. AUDI has so much potential, I think they are screwing
 4
             it up a bit23
 5
             Complaint on July 21, 2012 for a 2013 S4: So I traded my 2010 S4 a few weeks ago and
 6           got a 2013 S4. Driving home yesterday I get two alarms flashing on the dash. One for a
 7           transmission malfunction and the other is a TPMS malfunction. I could still drive the car
             but the shifts went from a few milliseconds to a couple seconds. The engine would rev to
 8           about 3K RPM then almost a complete loss of power while the RPM dropped to about 2K
             and the transmission would upshift. It was too late to bring the car to the dealership
 9           yesterday so I brought it in this morning. I start the car and get the TPMS malfunction
10           alarm but no transmission alarm. The transmission seems fine on my way to the dealership
             but the check engine light stays on. The TPMS warning light ends up going off on my way
11           to the dealership. Get a call a couple hours later and am told they don't know what the
             problem is and have to call the Audi Tech Line on Monday. Who's knows how this will
12           turn out but with only a little over 500 miles on the car, I'm starting to think I should have
13           stayed with the 6MT I had in my 2010. Stay tuned...24

14         Complaint on November 28, 2012 for a 2013 S4 on Audi World: I am brand new to this
15           forum and wanted to say thank you -- you guys rock. I took delivery of my S4 last Sunday.
             I now have 500 miles on it. After ~200 miles I noticed a behavior that has been discussed
16           in several B8 S4 threads -- hesitation, then jerky or jolting engagement of the transmission
             when stopping at an intersection and then trying to make a turn. Twice this happened with
17           on-coming traffic when I figured I had plenty of time to safely enter -- a lag and nothing
18           and then "wham!" like a guy slammed into me from behind. Scary and annoying and not
             an experience I expect from a $50K automobile. After reading some of you guys' posts last
19           night, I went to the dealership today armed for battle. I told them straight up I would not
             be able to reproduce this (it's very intermittent) but insisted they check it out. Service
20           manager over phone (prior to my research here) had said he was not familiar with any
21           issues with S4 (sales guy told me tons of similar issues with 8spd DSG on Q5 but not S4).
             When I showed up in person, I said "look, maybe you guys cringe when you hear this but
22           I spent 3 hours on Audi forums last night and I know this is out there happening to some
             owners." Well, the service manager pulled in a tech he said is familiar with this and this
23           guy laid out the exact steps I've seen in some threads from last night -- check for DSG s/w
24           update (none available). Next step is to try adaptation (or is it adaption? - I think he said
             the latter), then check the mechatronics unit. He said they have some unofficial test of the
25           mechatronics unit by easing it onto the alignment lift (I could be getting this part wrong) -
             - basically doing exactly what you do when you ease the car into the garage - and seeing if
26
27   23
        https://www.audiworld.com/forums/s4-b8-platform-discussion-134/new-b8-s4-s-tronic-design-
28   defect-2817650/page10/
     24
         https://www.audiworld.com/forums/s4-b8-platform-discussion-134/dsg-problem-2830362/



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              it is jerky or how many times it inches forward in a certain timeframe. I have to fly out to
 1
              LA tomorrow for work, but they are taking the car for a couple days starting Monday to
 2            check all this out. The tech said they've had to replace mechatronics on at least 1 2013
              recently. Bottom line, I just wanted to say thanks to all you contributors on this forum
 3            because I thought I was nutz when I experienced this and my first reaction from Audi
              service, but felt better going over there armed with some information I learned here. I'll let
 4
              you know how it goes.25
 5
            Complaint on November, 29, 2012 for a 2012 S4 on Audi World: I'm in the midst of
 6
              fighting with AoA on this same issue with my '12. My car has 15k miles and it's just gotten
 7            worse over time. Just to confirm it's not me being overly sensitive, I drove a friend's '11
              with similar mileage and there was a distinct difference in the way the two cars drove. My
 8            car slipped the clutch MUCH more and his was much smoother than mine. My hypothesis
              is that either there is a higher than average number of Mechatronics units that are defective
 9
              or that the software gets freaked out by some people's driving habits and gets inordinately
10            jerky. Car is going in tomorrow for re-adaptation / 3rd examination. If that does not solve
              the problem, I'm heading for buyback. We shall see.26
11
             Audi Did Not Disclose the Safety Defect to Plaintiffs, the Class, or Subclass Members.
12
13            82.    Despite Audi’s knowledge of the defect present in Class Vehicles, Audi failed to disclose
14   this unresolved safety defect to new and subsequent purchasers and lessees of Class Vehicles, and instead
15   chose to omit conveying this information to buyers at the time they were considering purchasing Class
16   Vehicles. Upon information and belief, Audi continues to manufacture and sell Class Vehicles equipped
17   with the defective transmissions without any disclosure to consumers about these hidden safety defects.
18            83.    Audi’s TSBs concerning the transmission problems in Class Vehicles are not directly sent
19   to purchasers and did not fully disclose the pervasiveness of the defect, the safety issues arising from the
20   defect, or the uncertain nature of the prescribed fixes.
21            84.    Plaintiffs, Class Members, and Subclass Members would not have purchased or leased
22   their vehicles, or would have paid significantly less for them, had they known of the transmission defect
23   or safety hazard at the point of sale. Plaintiffs, Class Members, and Subclass Members were denied
24   information that was material to their purchase or lease and material to their willingness to use their Class
25   Vehicles when Audi did not disclose the defect to them at the point of sale. Such information was material
26   to a reasonable consumer in making a decision to purchase, lease, or use a Class Vehicle.
27
     25
28        https://www.audiworld.com/forums/s4-b8-platform-discussion-134/2013-s4-dsg-jerky-2838215/
     26
          Id.



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        Audi’s Express and Implied Warranties Cover Repairs and Replacements Associated with the
 1
        Transmission Defect, But Audi Has Been Unable to Repair the Defect.
 2
 3          85.     For each Class Vehicle sold by Audi, an express written warranty was issued which

 4   covered the vehicle, including but not limited to, the transmission system.

 5          86.     Audi provided all purchasers and lessees of the Class Vehicles with a New Vehicle Basic

 6   Limited Warranty. The Limited Warranty “begins on the date the vehicle is delivered to either the original

 7   purchaser or the original lessee; or if the vehicle is first placed in service as a demonstrator or company

 8   car, on the date such vehicle is first placed in service.”

 9          87.     Under its New Vehicle Basic Limited Warranty, Audi expressly warranted that: “Audi

10   provides Limited New Vehicle Warranty coverage for your vehicle. The warranty duration is 4 years or

11   50,000 miles from your vehicle’s in-service date, whichever occurs first, and covers defects in

12   manufacturer’s material and workmanship.” The express warranty provides that “The warranty covers

13   repair or replacement to correct a defect in manufacturer’s material and workmanship. Your authorized

14   Audi dealer will repair the defective part or replace it with a new or remanufactured Genuine Audi Part

15   free of charge.”

16          88.     Upon information and belief, when Audi has replaced its defective transmissions under

17   warranty, it is replacing the transmissions with equally defective transmissions.

18          89.     In addition, Audi sold or leased the Class Vehicles to the Plaintiffs, Class, and Subclass

19   Members under an implied warranty of merchantability. Audi’s express warranty confirms that Audi

20   offers implied warranties, including the implied warranty of merchantability, for the same duration as the

21   express warranty. Audi impliedly warranted that the Class Vehicles were merchantable in that they were

22   in a safe and non-defective condition for use by their owners or lessees for the ordinary purpose for which

23   they were intended, and were not otherwise injurious. Audi is under a duty to design, construct,

24   manufacture, inspect, and test the Class Vehicles so as to make them suitable for the ordinary purposes

25   of their use—to safely transport the driver and any passengers during ordinary use.

26          90.     Audi breached its warranties for the Class Vehicles when it designed, manufactured, and

27   sold Class Vehicles with defects in the transmission system, and when it refused to or was unable to

28   repair the defect in the transmission when the transmission failed under warranty. The Class Vehicles are




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 1   defective, unsafe, unfit for the ordinary purposes for which they are intended to be used, and therefore,
 2   not merchantable.
 3                              PLAINTIFFS’ INDIVIDUAL ALLEGATIONS
 4          91.     Like all new or certified pre-owned Audi vehicles, Plaintiffs’ Class Vehicles each came
 5   with Audi’s New Vehicle Basic Limited Warranty. This warranty was a material factor in Plaintiffs’
 6   decisions to purchase their respective Class Vehicles.
 7          92.     At the time of Plaintiffs’ purchases, Audi failed to disclose, concealed, and/or omitted
 8   divulging to Plaintiffs and other potential buyers its knowledge of consumer complaints, malfunctions,
 9   safety hazards, and material facts related to the Class Vehicles’ defective transmission.
10          93.     Before Plaintiffs purchased their respective Class Vehicles, Plaintiffs were never informed
11   of, or aware of, the Class Vehicles’ transmission failures. Plaintiffs were unaware of the TSBs that
12   address the Class Vehicles’ defect and recommend a complete Mechatronic replacement and other
13   significant repairs to address the transmission defect.
14          94.     Had Audi disclosed the transmission defect, Plaintiffs would not have purchased the Class
15   Vehicles or would have paid significantly less for them. Plaintiffs were denied information material to
16   their purchases and that would affect their willingness to drive the Class Vehicles. Instead, Plaintiffs
17   relied upon Audi’s express and implied warranties that the Class Vehicles were fit and safe for their
18   ordinary purpose, merchantable, and were sold free from defects.
19          95.     Plaintiffs used their Class Vehicles in a reasonable manner and followed maintenance
20   recommendations.
21   Mike Madani Purchased A 2013 Audi S7 with the Undisclosed Transmission Defect.
22          96.     On or about April 10, 2013, Plaintiff Madani purchased a new 2013 Audi S7 from Audi
23   of Downtown L.A. in Los Angeles, California. Plaintiff Madani paid approximately $100,000 for his
24   Class Vehicle. Before and at the time of his purchase, the transmission defect was not disclosed to
25   Plaintiff Madani. At the time of purchase, Plaintiff Madani’s vehicle came with a 3-year or 36,000 mile
26   warranty.
27          97.     Audi Downtown L.A. was an adjoining link in the distribution chain from Audi to Plaintiff
28   Madani. In addition, Plaintiff Madani is an intended third party beneficiary of the contract between Audi




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 1   of Downtown L.A. and Audi corporate regarding his Class Vehicle. Audi of Downtown L.A. was not the
 2   intended end user or beneficiary of the Class Vehicle.
 3          98.     In approximately October 2017, with approximately 53,000 miles on his Class Vehicle,
 4   Plaintiff Madani was driving his Class Vehicle when his vehicle started to buck and jerk when he
 5   attempted to accelerate from a stopped position. He felt as though someone was crashing into him from
 6   behind when attempting to shift his vehicle into gear. This bucking and jerking occurred repeatedly
 7   throughout his entire trip with his vehicle. Plaintiff Madani sought an inspection of the class vehicle at
 8   Pacific Tire Motorsports in Redondo Beach, California, by his regular mechanic.
 9          99.     On approximately October 15, 2017, Plaintiff Madani discussed the bucking and jerking
10   and the problems attempting to accelerate from a stopped position with his mechanic. His mechanic
11   mentioned that Audi issued a “bulletin or something regarding the transmission.” Plaintiff Madani’s
12   mechanic took the Class Vehicle to Audi Pacific in Torrance, California for answers.
13          100.    At Audi Pacific, the service department updated the vehicle’s software and changed the
14   oil in the vehicle. Plaintiff Madani was charged $420.00 for the software update.
15          101.    Immediately after the software update, the vehicle resumed bucking and jerking when he
16   attempted to shift into gear from a stopped position. He took his vehicle to Pacific Tire for a second
17   inspection.
18          102.    At Pacific Tire, his mechanic discovered the vehicle was “GOING INTO LIMP MODE
19   AFTER HARD 1-2 AND 2-3 TRANSMISSION SHIFTS,” so his mechanic performed a transmission
20   fluid service and filter replacement, then took the vehicle back to Audi Pacific for a second software
21   update. At Audi Pacific, due to “harsh shifts from 3-2 in sport mode TSB 2035049/2,” the Service
22   Department performed a TCM update on the vehicle.
23          103.    Plaintiff Madani was charged $1,042.96 by Pacific Tire for the work and was told that this
24   repair would not be covered under the vehicle’s New Vehicle Limited Warranty.
25          104.    Today, Plaintiff Madani’s Class Vehicle still suffers from the transmission defect. His
26   vehicle’s transmission “kicks” during its use. Plaintiff Madani would not have purchased the vehicle had
27   he known of the transmission defect. He did not receive the benefit of his bargain.
28




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 1   Eric Walley Purchased A 2013 Audi S7 with the Undisclosed Transmission Defect.
 2          105.    On November 1, 2016, Plaintiff Walley purchased a used 2013 S7 from Empire Exotic
 3   Motors in Addison, Texas. Plaintiff Walley paid $55,000 for his vehicle before taxes and the vehicle had
 4   approximately 46,000 miles on its odometer at the time of his purchase.
 5          106.    On November 1, 2017, with approximately 55,100 miles on his Class Vehicle, Plaintiff
 6   Walley attempted to put his vehicle in reverse, but the vehicle started to buck and jerk back and forth.
 7   The bucking and jerking of his Class Vehicle was so severe that he felt as though his vehicle was being
 8   bumped by another vehicle.
 9          107.    In addition, when shifting gears and starting to accelerate, Plaintiff Walley noticed his
10   Class Vehicle would “jerk” between gears and not shift smoothly.
11          108.    On November 1, 2017, Plaintiff Walley took his vehicle in for an inspection and repair at
12   Audi Concord in Concord, California. There, service technicians told Plaintiff Walley that the issue with
13   his vehicle was normal, and they could not recreate either the bucking or jerking issue or the jerk between
14   gear shifts. The service technicians did not remedy the transmission defect.
15          109.    The transmission defect, as described above, is still a problem for Plaintiff Walley.
16   Plaintiff Walley would not have purchased the Class Vehicle had he known of the transmission defect.
17   He did not receive the benefit of his bargain. His transmission has not been replaced or repaired under
18   the New Vehicle Limited Warranty.
19   Richard DeVico Purchased A 2010 Audi S4 with the Undisclosed Transmission Defect.
20          110.    On October 10, 2016, Plaintiff Richard DeVico purchased a used 2010 Audi S4 with
21   approximately 44,000 miles on its odometer. He purchased the Class Vehicle for approximately
22   $27,900.00 from Habberstad BMW located in Huntington, New York.
23          111.    Prior to purchasing the vehicle, Plaintiff DeVico reviewed a CarFax on his vehicle’s repair
24   history. That CarFax report showed that his vehicle’s engine was replaced on February 6, 2014 with
25   28,579 miles on the odometer, and that on June 20, 2014, the vehicle’s transmission was replaced with
26   30,444 miles showing on the odometer.
27          112.    Soon after his purchase of the Class Vehicle, Plaintiff DeVico was forced to replace the
28   power steering pump. At that time, the vehicle had approximately 46,000 miles on the odometer.




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 1          113.    Since his vehicle reached about 50,000 miles on the odometer, Plaintiff DeVico’s
 2   vehicle’s transmission clunks when rolling to a stop, and it jolts forward when accelerating from a stop,
 3   feeling as if the vehicle has been rear-ended. The dashboard a various times displays error warnings,
 4   including “DSG Malfunction, you may continue to drive” and “reverse gear malfunction.” At times, it
 5   jumps gears (e.g., shifting from first to third gear or from second to fourth gear). Other times, it will not
 6   go into reverse at all. This is extremely dangerous for Plaintiff DeVico as being unable to reverse leaves
 7   him and his Class Vehicle vulnerable to getting stuck on rail tracks, unable to park in proper places, and
 8   not being able to safely back out of parking spaces or at all.
 9          114.    Plaintiff DeVico’s vehicle currently has approximately 60,000 miles on the odometer.
10   Because he cannot afford to make extensive repairs on his vehicle, he is unable to drive it. Plaintiff
11   DeVico would not have purchased the vehicle had he known of the transmission defect. He did not
12   receive the benefit of his bargain.
13   Romsin Oushana Purchased A 2015 Audi S4 with the Undisclosed Transmission Defect.
14          115.    On April 1, 2016, Plaintiff Romsin Oushana purchased a Certified Pre-Owned 2015 Audi
15   S4 with approximately 7,000 miles on its odometer. He purchased the Class Vehicle for approximately
16   $51,000.00 from Audi Sacramento located in Sacramento, California. When he purchased the Class
17   Vehicle, it came with an Audi Certified Pre-Owned Vehicle Warranty that extends his warranty coverage
18   through 6-years/100,000 miles. In addition, he purchased a supplemental warranty for his vehicle from
19   the Audi dealership.
20          116.    Audi Sacramento was an adjoining link in the distribution chain from Audi to Plaintiff
21   Oushana. In addition, Plaintiff Oushana is a third party beneficiary of the contract between Audi of
22   Sacramento and Audi corporate regarding his Class Vehicle. Audi Sacramento was not the intended end
23   user or beneficiary of the Class Vehicle. Prior to purchasing the vehicle, Plaintiff Oushana spoke to the
24   Audi salesperson and others at the dealership about the Class Vehicle. No one at the dealership before or
25   during his purchase told him about the transmission defect or the TSBs that had already been released by
26   Audi about the defective transmission. Had Plaintiff Oushana been told of the known problems, he would
27   have purchased a different brand and/or model of car.
28




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 1          117.    In approximately June 2017, Plaintiff Oushana began experiencing the juddering and
 2   jerking of his Class Vehicle, primarily when he is traveling at slow or medium speeds. Sometimes when
 3   the gas pedal is pushed, the vehicle will hesitate, jerk, then finally accelerate. Although the problem is
 4   most obvious at lower speeds, it occurs at any speed. When Plaintiff Oushana tries to accelerate in
 5   defensive driving situations where he needs to make a quick adjustment, his vehicle does not properly
 6   accelerate and places him at risk for an accident, a serious safety concern.
 7          118.    Since he purchased his vehicle, all of its normal maintenance has been performed at an
 8   Audi dealership. He has spoken to the Audi dealership frequently about how his vehicle is running and
 9   about its reliability, in part because he has a long daily commute for work and must have safe and reliable
10   transportation. Despite certain maintenance being included in the Certified Pre-Owned Warranty, the
11   dealership has been difficult to deal with.
12          119.    In addition to speaking to the Audi dealership, he has received advertising and mail from
13   Audi since his purchase, but at no time has Audi or the Audi dealership mentioned the known
14   transmission problem. His Class Vehicle has not been recalled for this defect.
15          120.    Plaintiff Oushana’s Class Vehicle currently has approximately 54,000 miles on the
16   odometer. Plaintiff Oushana would not have purchased the vehicle had he known of the transmission
17   defect. He did not receive the benefit of his bargain. He fears that his vehicle is worth significantly less
18   as a result of the transmission defect, and as a result, would have a severely diminished resale value.
19   John Chess Purchased A 2010 Audi S4 with the Undisclosed Transmission Defect.
20          121.    On May 26, 2010, Plaintiff John Chess purchased a new 2010 Audi S4. He purchased the
21   Class Vehicle for approximately $62,287.00 from Audi Livermore in Livermore, California. At the time
22   of purchase, Plaintiff Chess’s vehicle came with a 3-year or 36,000 mile warranty, whichever came first.
23          122.    Audi Livermore was an adjoining link in the distribution chain from Audi to Plaintiff
24   Chess. In addition, Plaintiff Chess is an intended third party beneficiary of any contract between Audi
25   Livermore and Audi corporate regarding his Class Vehicle. Audi Livermore was not the intended end
26   user or beneficiary of the Class Vehicle.
27          123.    In approximately February 2011 with 7,988 miles on the Class Vehicle, Plaintiff Chess’s
28   car was towed to the dealership because the water pump had failed and the car over heated. Plaintiff




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 1   Chess’ wife called the dealership and complained to a member of the Audi Livermore staff, Johnny
 2   Cheng, and told him that her vehicle had come to a rough stop and the transmission was not working
 3   properly. Plaintiff Chess and his wife were told the vehicle was fine and there was no issue with the
 4   transmission with a rough stop.
 5           124.    On March 21, 2017, with 54,079 miles on his Class Vehicle, Plaintiff Chess’s vehicle was
 6   taken to Audi Livermore for an inspection. There, Plaintiff Chess and his wife stated that the vehicle,
 7   while at a stop, wants to jump forward and “buck.” Audi Livermore performed an inspection and found
 8   no faults in the system and could not replicate the problem. Plaintiff Chess and his wife were charged
 9   $160 for this work.
10           125.    On June 5, 2018, with 60,745 miles on his Class Vehicle, Plaintiff Chess’s vehicle was
11   taken to Audi Livermore for an inspection. There, Plaintiff Chess’ wife stated the vehicle lurches and
12   shutters when coming to a stop and this issue also manifests when accelerating and shifting from first to
13   second gear. The technician noted during the visit “ROADTESTED WITH THE CUSTOMER AND
14   VERIFIED A BANGING FROM THE TRANSMISSION A SECOND AFTER COMING TO A STOP.
15   FEELS LIKE BEING REAR ENDED AT LOW SPEED. CHECKED AND TOPPED OFF FLUID
16   LEVEL. RESET TRANSMISSION ADAPTION. ROADTESTED, BANGING WHEN STOPPED
17   RETURNED AFTER 20 MILES. CONTACTED TECHNICAL ASSISTANCE AND WAS
18   PROVIDED WITH AN UPDATED SOFTWARE VERSION. CONNECTED CHARGER AND
19   PERFORMED SOFTWARE UPDATE VIA SVM. ROADTESTED AGAIN, BANGING IS
20   SIGNIFICANTLY           REDUCED         IN    INTENSITY         AND       FREQUENCY.          RECOMMEND
21   ROADTESTING WITH THE CUSTOMER TO VERFITY REPAIRS. TRANSMISSION NOW
22   OPERATES COMPRABLE TO SIMILAR VEHICLES.” See the Audi Livermore Service Work Order,
23   attached as Exhibit A.
24           126.    Plaintiff Chess’s Class Vehicle currently has approximately 66,026 miles on the odometer.
25   Plaintiff Chess would not have purchased the vehicle had he known of the transmission defect. He did
26   not receive the benefit of his bargain. He fears that his vehicle is worth significantly less as a result of the
27   transmission defect, and as a result, would have a severely diminished resale value.
28




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 1   Michael Warchut Purchased A 2012 Audi S4 with the Undisclosed Transmission Defect.
 2          127.    On or about July 14, 2011, Plaintiff Michael Warchut purchased a new 2012 Audi S4. He
 3   purchased the Class Vehicle for approximately $72,220.00 from Audi Concord in Concord, California.
 4   At the time of purchase, Plaintiff Warchut’s vehicle came with a 3-year or 36,000 mile warranty,
 5   whichever came first.
 6          128.    Audi Concord was an adjoining link in the distribution chain from Audi to Plaintiff
 7   Warchut. In addition, Plaintiff Warchut is an intended third party beneficiary of any contract between
 8   Audi of Concord and Audi corporate regarding his Class Vehicle. Audi Concord was not the intended
 9   end user or beneficiary of the Class Vehicle.
10          129.    Within a month of purchase, Plaintiff Warchut noticed his Class Vehicle would surge at
11   low speeds and “buck” and “lurch” forward when parked. Further, when he was slowing down the
12   vehicle’s transmission would “judder” when shifting between second and first gear and “judder” when
13   shifting between first and second gear.
14          130.    On October 14, 2011, with only 4,865 miles on his Class Vehicle, Plaintiff Warchut took
15   his Vehicle in for his first scheduled service inspection at Audi Concord. At the inspection, Plaintiff
16   Warchut conveyed all of the aforementioned issues he had with the transmission of his Class Vehicle.
17   According to the service notes, it states “CUSTOMER STATES THAT THE VEHICLE SURGES AT
18   LOW SPEEDS. . . MAINLY HAPPENS IN PARING (sic) LOTS, SUPER SLOW SPPEDS [sic] & IT
19   WILL SURGE. . . CUSTOMER STATES VEHICLE SURGES AT LOW SPEEDS. CHECK AND
20   VERFITY, ROAD TEST VEHICLE NORMAL OPERATION AS DESIGN. CHECK TSB NO TSB
21   FOUND. PERFORMED GFF NO DTCS RELATED TO COMPLAINT.” Plaintiff Warchut was told
22   that the issues he was experiencing were “an artifact of the design of the vehicle” and that his vehicle did
23   not have a problem. Plaintiff Warchut was mystified and confused by this response given the experiences
24   he had driving the Class Vehicle. Plaintiff Warchut did not receive a fix or anything from Audi Concord
25   to remedy the transmission defect within his Class Vehicle. See Audi Concord Service Work Order,
26   attached as Exhibit B.
27          131.    On December 16, 2011, with 8,385 miles on his Class Vehicle, Plaintiff Warchut took his
28   Class Vehicle in for an inspection at Audi Concord. There, Plaintiff mentioned that his Class Vehicle




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 1   would surge at low speeds and “buck” and “lurch” forward when parked. Further, when he was slowing
 2   down the vehicle’s transmission would “judder” when shifting between second and first gear and
 3   “judder” when shifting between first and second gear. Again, Plaintiff Warchut was told that there was
 4   no software updates or fix that could be done for these issues with his Class Vehicle.
 5          132.    On April 25, 2012, with 14,615 miles on his Class Vehicle, Plaintiff Warchut took his
 6   Class Vehicle in for an inspection at Audi Concord. There, There, Plaintiff mentioned that his Class
 7   Vehicle would surge at low speeds and “buck” and “lurch” forward when parked. Further, when he was
 8   slowing down the vehicle’s transmission would “judder” when shifting between second and first gear
 9   and “judder” when shifting between first and second gear. Again, Plaintiff Warchut was told that there
10   was no software updates or fix that could be done for these issues with his Class Vehicle.
11          133.    On July 12, 2018, with approximately 99,036 miles on his Class Vehicle, Plaintiff
12   Warchut was driving his Class Vehicle when suddenly and without warning, the Class Vehicle’s
13   transmission went into “limp mode” and the Class Vehicle would not accelerate over 20 miles per hour.
14   Plaintiff Warchut was able to drive his Class Vehicle slowly home.
15          134.    Thereafter, Plaintiff Warchut called Audi Concord about receiving an estimate for a
16   replacement of the transmission within his Class Vehicle he had had so many issues with. Thereafter,
17   Plaintiff was informed since his Class Vehicle was out of warranty, it would be approximately $13,000
18   for a replacement of that transmission with parts and labor. Plaintiff Warchut found this response
19   unsatisfactory given the litany of complaints he made to Audi Concord within the Class Vehicle’s
20   powertrain warranty period.
21          135.    Thereafter, in August 2018, Plaintiff contracted with a local non-Audi mechanic who
22   agreed to fix the transmission with his Class Vehicle for $1,400. Plaintiff Warchut had the vehicle towed
23   to his shop in the Bay Area. Plaintiff Warchut’s Class Vehicle was in the shop undergoing the fix for
24   approximately three weeks.
25          136.    Plaintiff Warchut’s Class Vehicle currently has 106,581 miles on the odometer. Plaintiff
26   Warchut would not have purchased the vehicle had he known of the transmission defect. He did not
27   receive the benefit of his bargain. He fears that his vehicle is worth significantly less as a result of the
28   transmission defect, and as a result, would have a severely diminished resale value.




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 1                                     CLASS ACTION ALLEGATIONS
 2          137.    Pursuant to Rules 23(b)(2), and/or 23(b)(3) of the Federal Rules of Civil Procedure,
 3   Plaintiffs will seek certification of a nationwide class defined as follows:
 4          All persons who own or lease a Class Vehicle (i.e., 2010 - 2015 Audi S4; 2010-2015 Audi S5;
 5          2010-2015 Audi S6; 2010-2015 Audi S7; or 2010-2015 Audi RS5) with a DSG transmission
 6          in the United States (the “Class”).
 7          138.    Plaintiffs also seek certification of a California Subclass defined as follows:
 8          All persons who own or lease a Class Vehicle (i.e., 2010 - 2015 Audi S4; 2010-2015 Audi S5;
 9          2010-2015 Audi S6; 2010-2015 Audi S7; or 2010-2015 Audi RS5) with a DSG transmission
10          and who purchased the vehicle in and/or reside in California.
11          139.    Plaintiffs reserve the right to amend or change their class definitions prior to class
12   certification as necessary to conform with the facts as clarified through discovery and litigation.
13          140.    The Class and Subclass definitions specifically exclude:
14              a. all persons who assert personal injury claims arising from or relating to the transmission
15                  failures in their Class Vehicle(s);
16              b. all persons who have had their Class Vehicle re-purchased or “bought back” by Audi
17                  (whether the buy-back was required by law or was solely pursuant to agreement);
18              c. any persons or other entity currently employed by or affiliated with Defendant;
19              d. any person, firm, trust, corporation, or other entity who purchased a Class Vehicle from
20                  Defendant strictly for resale;
21              e. any Judge presiding over this action; and
22              f. all persons who properly execute and file a timely request for exclusion from the Class.
23          141.    Numerosity: the Class and Subclass are comprised of tens of thousands of Audi owners
24   throughout the United States, making joinder impractical. Moreover, the Class and Subclass are
25   composed of an easily ascertainable, self-identifying set of individuals and entities who purchased Class
26   Vehicles. The members of the Class and Subclass are so numerous that joinder of all members is
27   impracticable. The precise number of Class and Subclass Members can be ascertained only through
28   discovery, which includes Defendant’s sales, service, and complaint records. The disposition of their




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 1   claims through a class action will benefit both the parties and this Court. Furthermore, Members of the
 2   Class and Subclass may be identified from records maintained by Audi and its agents, and may be notified
 3   of the pendency of this action by mail, or other appropriate means, using a form of notice customarily
 4   used in consumer class actions.
 5          142.    Commonality: The critical questions of law and fact common to the Class and Subclass
 6   that will materially advance the litigation include, but are not limited to, the following:
 7                  a.   Whether the transmissions installed by Defendant in the Class Vehicles were
 8                       defective;
 9                  b.   Whether Defendant knew about the defective transmissions in Class Vehicles when
10                       they sold the Class Vehicles;
11                  c.   Whether the transmission defect constitutes a breach of the implied warranty of
12                       merchantability;
13                  d.   Whether refusing or failing to repair the transmission defect constitutes a breach of
14                       the express warranty;
15                  e.   Whether the Defendant’s concealment of and/or failure to disclose the defect in
16                       Class Vehicles constitutes unfair or deceptive acts or practices in violation of state
17                       consumer protection statutes;
18                  f.   Whether information about the defect was material to a reasonable consumer in
19                       making a decision to purchase, lease, or use Class Vehicles;
20                  g.   Whether Audi’s express warranty has failed its essential purpose;
21                  h.   Whether members of the Class and Subclass are entitled to be notified and warned
22                       about the transmission defect and are entitled to the entry of final and injunctive
23                       relief compelling Defendant to issue a notification and warning to all Class and
24                       Subclass Members concerning such a defect;
25                  i.   Whether Defendant deliberately misrepresented or failed to disclose or concealed
26                       material facts to Plaintiffs and the Class and Subclass Members;
27                  j.   Whether Audi’s repairs to its transmissions are effective;
28




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 1                  k.   Whether Audi replaces its defective transmissions with equally defective
 2                       transmissions;
 3                  l.   Whether Audi acted or refused to act on grounds generally applicable to the Class
 4                       and/or Subclass, thereby making the award of equitable relief and/or restitution
 5                       appropriate to the Class as a whole;
 6                  m. Whether Plaintiffs and Class and Subclass Members would have purchased their
 7                       Class Vehicles, or whether they would have paid a lower price for them, had they
 8                       known of the transmission failures;
 9                  n.   Whether Plaintiffs and Class and Subclass Members are entitled to actual damages;
10                       and
11                  o.   Whether Plaintiffs and the Class and Subclass are entitled to restitution and/or
12                       disgorgement.
13          143.    Typicality: Plaintiffs’ claims are typical of the claims of the members of the Class and
14   Subclass, as all such claims arise out of Defendant’s conduct in designing, manufacturing, warranting,
15   and selling the Class Vehicles with the same transmission defect.
16          144.    Adequate Representation: Plaintiffs will fairly and adequately protect the interests of the
17   Class Members and have no interests antagonistic to those of the Class. Plaintiffs have retained counsel
18   experienced in the prosecution of complex class actions including, but not limited to, consumer class
19   actions involving, inter alia, breach of warranties, product liability, and product design defects.
20          145.    Predominance: This class action is appropriate for certification because questions of law
21   and fact common to Class and Subclass Members predominate over questions affecting only individual
22   members.
23          146.    Superiority: A class action is superior to other available methods for the fair and efficient
24   adjudication of this controversy, since individual joinder of all Class and Subclass Members is
25   impracticable. Should individual Class and Subclass Members be required to bring separate actions, this
26   Court would be confronted with a multiplicity of lawsuits burdening the court system while also creating
27   the risk of inconsistent rulings and contradictory judgments. In contrast to proceeding on a case-by-case
28   basis, in which inconsistent results will magnify the delay and expense to all parties and the court system,




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 1   this class action presents far fewer management difficulties while providing unitary adjudication,
 2   economies of scale and comprehensive supervision by a single court. Because the damages suffered by
 3   each Class and Subclass Member are relatively small compared to the expense and burden of prosecuting
 4   this compelling case against a well-financed, multibillion-dollar corporation, this class action is the best
 5   avenue for each Class and Subclass Member to redress the harm that Audi caused.
 6          147.     This lawsuit is maintainable as a class action under Federal Rule of Civil Procedure
 7   23(b)(2) because Defendant has acted or refused to act on grounds that are generally applicable to the
 8   Class and Subclass Members, thereby making final injunctive relief appropriate with respect to the Class
 9   and Subclass.
10          148.     This lawsuit is maintainable as a class action under Federal Rule of Civil Procedure
11   23(b)(3) because the questions of law and fact common to the members of the Class and Subclass
12   predominate over any questions that affect only individual Members, and because the class action
13   mechanism is superior to other available methods for the fair and efficient adjudication of the
14   controversy.
15                              TOLLING OF STATUTES OF LIMITATIONS
16          149.     Discovery Rule. Plaintiffs’ claims accrued upon discovery that the transmission system
17   that Audi designed, manufactured, and installed into the Class Vehicles suffered from transmission
18   failures, and that the transmission failures could not be repaired. While Audi knew and omitted the fact
19   that the transmissions suffer from a defect that causes failures, Plaintiffs, Class Members, and Subclass
20   Members could not and did not discover this fact through reasonable diligent investigation until after
21   they experienced failures and reasonably excluded other potential causes of the failures.
22          150.     Active Concealment Tolling. Any statutes of limitations are tolled by Audi’s knowing and
23   active concealment of the fact that the transmission suffered from a defect. Audi kept Plaintiffs and all
24   Class and Subclass Members ignorant of vital information essential to the pursuit of their claims, without
25   any fault or lack of diligence on the part of Plaintiffs. The details of Audi’s efforts to conceal its above-
26   described unlawful conduct are in its possession, custody, and control, to the exclusion of Plaintiffs and
27   the Class and Subclass Members. Plaintiffs could not reasonably have discovered the fact that the
28   transmissions suffered from a defect that would cause repeated and significant failures.




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 1           151.    Estoppel. Audi was and is under a continuous duty to disclose to Plaintiffs, as well as
 2   Class and Subclass Members, the true character, quality, and nature of the transmissions. At all relevant
 3   times, and continuing to this day, Audi knowingly, affirmatively, and actively misrepresented and
 4   omitted the true character, quality, and nature of the transmissions. The details of Audi’s efforts to conceal
 5   its above-described unlawful conduct are in its possession, custody, and control, to the exclusion of
 6   Plaintiffs and Class and Subclass Members. Plaintiffs and Class and Subclass Members reasonably relied
 7   upon Audi’s knowing and/or active omissions. Based on the foregoing, Audi is estopped from relying
 8   upon any statutes of limitation in defense of this action.
 9           152.    Equitable Tolling. Audi took active steps to omit the fact that it wrongfully, improperly,
10   illegally, and repeatedly manufactured, marketed, distributed, sold, and/or leased the Class Vehicles with
11   the defective transmissions. The details of Audi’s efforts to conceal its above-described unlawful conduct
12   are in its possession, custody, and control, to the exclusion of the Plaintiffs and Class and Subclass
13   Members. When Plaintiffs learned about this material information, they exercised due diligence by
14   thoroughly investigating the situation, retaining counsel, and pursuing their claims. Audi wrongfully
15   omitted its deceitful acts described above. Should it be necessary, therefore, all applicable statutes of
16   limitation are tolled under the doctrine of equitable tolling.
17
                                         FIRST CLAIM FOR RELIEF
18                                        Breach of Express Warranty
              (On behalf of Plaintiffs, the Class, and, in the alternative, the California Subclass)
19
             153.    Plaintiffs, individually and on behalf of the Class, and, in the alternative, for the California
20
     Subclass, hereby incorporate each and every allegation from Paragraphs 1 through 152 as though fully
21
     set forth herein.
22
             154.    Each Class Vehicle sold by Audi included an express New Vehicle Limited Warranty that
23
     covered, in part, the transmission and warranted that it would repair or replace any defects in materials
24
     and workmanship in the Class Vehicles through 48-months or 50,000 miles. In addition, through its
25
     Certified Pre-Owned Vehicle program, Audi extends its warranty up to 72-months or 100,000 miles.
26
             155.    Audi provided all purchasers and lessees of new Class Vehicles with a New Vehicle
27
     Limited Warranty, which is transferrable with the sale of the vehicle. The Express New Vehicle Limited
28
     Warranty states “Audi provides Limited New Vehicle Warranty coverage for your vehicle. The warranty



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 1   duration is 4 years or 50,000 miles from your vehicle’s in-service date, whichever occurs first, and covers
 2   defects in manufacturer’s material and workmanship.” Further, the express warranty further provides that
 3   “The warranty covers repair or replacement to correct a defect in manufacturer’s material and
 4   workmanship. Your authorized Audi dealer will repair the defective part or replace it with a new or
 5   remanufactured Genuine Audi Part free of charge.”
 6             156.   The DSG transmissions of the Class Vehicles were defective at the point of sale, and when
 7   replaced under warranty, upon information and belief, are equally defective.
 8             157.   Audi knowingly and actively concealed and conceals that its DSG transmission suffers
 9   from a defect from Plaintiffs, the Class, and the public. Despite its knowledge of the DSG transmission
10   defect, Audi continues to manufacture, advertise, distribute, and sell the Class Vehicles without
11   disclosing the safety problems that prevent the Class Vehicles from properly changing gears,
12   accelerating, or driving smoothly.
13             158.   The details of Audi’s efforts to conceal its above-described unlawful conduct are in its
14   possession, custody, and control, to the exclusion of Plaintiffs and the Class and Subclass Members.
15   Plaintiffs could not reasonably have discovered the fact that the transmissions suffered from a defect at
16   the point of purchase.
17             159.   Further, Audi warranted that the Class Vehicles are “safe” and “reliable” while failing to
18   disclose to Plaintiffs and Class Members any hint of the risks posed by the transmission defect, which
19   renders the Class Vehicles dangerous and unreliable.
20             160.   Plaintiffs gave notice to Audi of their vehicles’ defect through its dealers and agents and
21   through its customer service division. Audi was also on notice of the defect by virtue of the NHTSA and
22   other website complaints as set forth herein, as well as its internal investigation of the defect in Class
23   Vehicles that, upon information and belief, began as early as 2010.
24             161.   Audi breached its warranties by offering for sale and selling defective vehicles that were
25   defective and unsafe from the point of sale, and by refusing to recognize or permanently repair the defect,
26   thereby subjecting the occupants of the Class Vehicles purchased or leased to damages, risks of loss and
27   injury.
28




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 1             162.   Audi’s warranty to repair the Class Vehicles fails in its essential purpose because the
 2   contractual remedy is insufficient to make Plaintiffs, the Class, and the Subclass whole. Audi has refused
 3   to replace the transmission with a different, functional transmission, and as Audi’s TSBs demonstrate
 4   (see supra ¶¶ 26-32), Audi is incapable of repairing the defect, despite repeated attempts to do so.
 5             163.   Accordingly, Plaintiffs, the Class, and the Subclass are not limited to the limited warranty
 6   of “repair,” because the warranty fails of its essential purpose and Plaintiffs, the Class, and the Subclass
 7   seek all remedies allowed by law.
 8             164.   Audi’s breach of its express warranties proximately caused the Plaintiffs, the Class, and
 9   the California Subclass to suffer damages in excess of $5,000,000.00.
10             165.   Plaintiffs and the Class, or in the alternative the California Subclass, seek full
11   compensatory damages allowable by law, the diminished value of the Class Vehicles, repair or
12   replacement of all Class Vehicles, the refund of money paid to own or lease all Class Vehicles, and
13   punitive damages and appropriate equitable relief including injunctive relief, restitution, a declaratory
14   judgment, and a court order enjoining Audi’s wrongful acts and practices, and any other relief to which
15   Plaintiffs and the Class or the California Subclass may be entitled, including attorneys’ fees and costs.
16
                                        SECOND CLAIM FOR RELIEF
17
                               Breach of Implied Warranty of Merchantability
18             (On behalf of Plaintiffs, the Class and, in the alternative, the California Subclass)

19             166.   Plaintiffs, individually, and for the Class and, in the alternative, the California Subclass,

20   hereby incorporate each and every allegation from Paragraphs 1 through 152 as though fully set forth

21   herein.

22             167.   Audi impliedly warranted that the Class Vehicles, which it designed, manufactured, and

23   sold or leased to Plaintiffs and the Class or members of the California Subclass, were merchantable, fit

24   and safe for their ordinary use, not otherwise injurious to consumers, and equipped with adequate safety

25   warnings.

26             168.   Because the Class Vehicles are equipped with a defective transmission system, the

27   vehicles purchased or leased and used by Plaintiffs, the Class, and Subclass Members are unsafe,

28   unreliable, unfit for their ordinary use when sold, and not merchantable. Audi breached the implied




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 1   warranty of merchantability by selling or leasing Class Vehicles to Plaintiffs, the Class, and Members of
 2   the California Subclass.
 3          169.      As a direct and proximate result of Audi’s breach of the implied warranty of
 4   merchantability, Plaintiffs, the Class, and members of the California Subclass suffered damages in excess
 5   of $5,000,000.
 6          170.      Plaintiffs and the Class, or alternatively the California Subclass, seek full compensatory
 7   damages allowable by law, the diminished value of the Class Vehicles, the repair or replacement of all
 8   Class Vehicles, the refund of money paid to own or lease all Class Vehicles, and punitive damages, and
 9   appropriate equitable relief including injunctive relief, restitution, a declaratory judgment, and a court
10   order enjoining Audi’s wrongful acts and practices and any other relief to which Plaintiffs and the Class
11   or, alternatively, the California Subclass, may be entitled, including attorneys’ fees and costs.
12
                                        THIRD CLAIM FOR RELIEF
13
                              Violation of the Magnuson-Moss Warranty Act
14                                         15 U.S.C. § 2301, et seq.
             (On behalf of Plaintiffs, the Class and, in the alternative, the California Subclass)
15
            171.      Plaintiffs, individually and for the Class and, in the alternative, the California Subclass,
16
     hereby incorporate every allegation from Paragraphs 1 through 152 as though fully set forth herein.
17
            172.      Plaintiffs, the Class, and Subclass Members are “consumers” within the meaning of the
18
     Magnuson-Moss Act, 15 U.S.C. § 2301(3).
19
            173.      Audi is a “supplier” and “warrantor” within the meaning of the Magnuson-Moss Act, 15
20
     U.S.C. § 2301(4) and (5).
21
            174.      The Class Vehicles at issue are “consumer products” within the meaning of the
22
     Magnuson-Moss Act, 15 U.S.C. § 2301(6).
23
            175.      For each Class Vehicle, Audi issued an express New Vehicle Limited Warranty that
24
     covered the vehicle, including but not limited to the transmission, and which warranted that Audi would
25
     repair or replace any part that is defective in material or workmanship under normal use.
26
            176.      Further, Audi warranted that the Class Vehicles are “safe” and “reliable” while failing to
27
     disclose to Plaintiffs and Class Members any hint of the risks posed by the transmission defect, which
28
     renders the Class Vehicles dangerous and unreliable.



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 1          177.    Audi breached its express warranties by offering for sale and selling defective vehicles
 2   that were, by their manufacturer, defective and unsafe at the point of sale, and failing to repair said
 3   vehicles, thereby subjecting the occupants of the Class Vehicles purchased or leased to damages and risks
 4   of loss and injury.
 5          178.    Audi’s written and implied warranties relate to the future performance of its vehicles
 6   because it promised that the transmission of the Class Vehicles would perform adequately for a specified
 7   period of time or mileage, whichever came first.
 8          179.    Audi has breached and continues to breach its written and implied warranties of future
 9   performance, thereby damaging Plaintiffs and similarly situated Class and Subclass Members, because
10   the Class Vehicles fail to perform as represented due to an undisclosed transmission defect that was
11   present at the point of sale. Audi failed to fully cover or pay for necessary inspections, repairs and/or
12   vehicle replacements for Plaintiffs, the Class, and the Subclass.
13          180.    Audi is under a continuing duty to inform its customers of the nature and existence of
14   potential defects in the Class Vehicles.
15          181.    Such irreparable harm includes, but is not limited to, likely injuries and crashes as a result
16   of the defects in the Class Vehicles.
17          182.    Plaintiffs and the Class, or in the alternative the Subclass, seek full compensatory damages
18   allowable by law, the diminished value of the Class Vehicles, the repair or replacement of all Class
19   Vehicles, the refund of money paid to own or lease all Class Vehicles, and punitive damages, and
20   appropriate equitable relief including injunctive relief, restitution, a declaratory judgment, a court order
21   enjoining Audi’s wrongful acts and practices, and any other relief to which Plaintiffs and the Class or,
22   alternatively, the California Subclass, may be entitled, including attorneys’ fees and costs.
23
                                  FOURTH CLAIM FOR RELIEF
24     Breach of Implied Warranty Pursuant to Song-Beverly Consumer Warranty Act, California
                                       Civil Code § 1791, et seq.
25                        (On behalf of Plaintiffs and the California Subclass)
26          183.    Plaintiffs, individually and for the California Subclass, hereby incorporate each and every
27   allegation from Paragraphs 1 through 152 as though fully set forth herein.
28




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 1          184.    Plaintiffs and the California Subclass Members are “buyers” within the meaning of the
 2   Song-Beverly Consumer Warranty Act, California Civil Code § 1791(a).
 3          185.    Audi is a “manufacturer” within the meaning of the Song-Beverly Consumer Warranty
 4   Act, California Civil Code § 1791(j).
 5          186.    The Class Vehicles at issue are “consumer goods” within the meaning of the Song-Beverly
 6   Consumer Warranty Act, California Civil Code § 1791(a).
 7          187.    The New Vehicle Limited Warranty is an “express warranty” within the meaning of the
 8   Song-Beverly Consumer Warranty Act, California Civil Code § 1791.2.
 9          188.    At all relevant times, Audi manufactured, distributed, warranted, and/or sold the Class
10   Vehicles. Audi knew or had reason to know of the specific use for which the Class Vehicles were
11   purchased or leased.
12          189.    Audi provided an implied warranty to Plaintiffs and California Subclass Members
13   warranting that the Class Vehicles, including the component parts, are merchantable and fit for the
14   ordinary purposes for which they were sold. However, inter alia, the transmissions in the Class Vehicles
15   suffer from an inherent defect at the time of sale and, thereafter, are not fit for their ordinary purpose of
16   providing reasonably safe and reliable transportation.
17          190.    Audi impliedly warranted that the Class Vehicles are of merchantable quality and fit for
18   such use. The implied warranty includes, among other things: (i) a warranty that the Class Vehicles
19   manufactured, supplied, distributed, and/or sold by Audi are safe and reliable for providing
20   transportation; and (ii) a warranty that the Class Vehicles are fit for their intended use.
21          191.    Contrary to the applicable implied warranties, the Class Vehicles, at the time of sale and
22   thereafter, were not fit for their ordinary and intended purpose of providing Plaintiffs and California
23   Subclass Members with reliable, durable, and safe transportation. Instead, the transmissions in Class
24   Vehicles are defective and suffer from transmission failures that compromise the reliability, durability,
25   and safety of Class Vehicles.
26          192.    As a result of Audi’s breach of the applicable implied warranties, owners and/or lessees
27   of the Class Vehicles have suffered an ascertainable loss of money, property, and/or value of their Class
28   Vehicles. Additionally, as a result of the transmission defect, Plaintiffs and California Subclass Members




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 1   were harmed and suffered actual damages in that the Class Vehicles’ transmissions are substantially
 2   certain to fail or have failed before their expected useful life has run. The transmission failures create a
 3   high risk of accidents, injuries, and even death.
 4          193.    Audi’s actions, as complained of herein, breached the implied warranty that the Class
 5   Vehicles were of merchantable quality and fit for such use, in violation of California Civil Code §§ 1792
 6   and 1791.1, et seq.
 7          194.    Plaintiffs and the California Subclass seek full compensatory damages allowable by law,
 8   the diminished value of the Class Vehicles, the repair or replacement of all Class Vehicles, the refund of
 9   money paid to own or lease all Class Vehicles, and any other relief to which Plaintiffs and the California
10   Subclass may be entitled, including attorneys’ fees and costs.
11
                                       FIFTH CLAIM FOR RELIEF
12
                     Violation of the California Consumers Legal Remedies Act (“CLRA”)
13                                        Cal. Civ. Code § 1750, et seq.
                              (On behalf of Plaintiffs and the California Subclass)
14
            195.    Plaintiffs, individually and for the California Subclass, hereby incorporate each and every
15
     allegation from Paragraphs 1 through 152 as though fully set forth herein.
16
            196.     Audi is a “person” within the meaning of Civil Code §§ 1761(c) and 1770, and has
17
     provided “goods” within the meaning of Civil Code §§ 1761(b) and 1770.
18
            197.    Plaintiff and members of the proposed California Subclass are “consumers” within the
19
     meaning of Civil Code §§ 1761(d) and 1770, and have engaged in a “transaction” within the meaning of
20
     Civil Code §§ 1761(e) and 1770.
21
            198.    Audi’s acts and practices, which were intended to result and which did result in the sale
22
     of Class Vehicles with defective transmissions, violate § 1770 of the Consumers Legal Remedies Act for
23
     at least the following reasons:
24
                a. Audi represents that its vehicles and transmissions had characteristics, uses, or benefits
25
                    which they do not have;
26
                b. Audi advertises its goods with intent not to sell them as advertised;
27
                c. Audi represents that its vehicles and transmissions are of a particular standard, quality,
28
                    or grade when they are not;



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 1              d. Audi represents that a transaction conferred or involved rights, remedies, or obligations
 2                  which they do not; and
 3              e. Audi represents that its goods have been supplied in accordance with a previous
 4                  representation when they have not.
 5              f. Audi knew but concealed that transmission defect be obvious to the consumer until
 6                  after warranty coverage expired and that many of the defective transmissions would fail
 7                  prematurely, but outside the warranty period.
 8          199.    Audi’s practices, acts, policies, and course of conduct, including its omissions as
 9   described above, were intended to induce, and did induce, Plaintiffs and members of the California
10   Subclass to purchase or lease the Class Vehicles with defective transmissions.
11          200.    Audi sold and/or leased the Class Vehicles knowingly concealing that they contained the
12   defects alleged. This is due in part to the extensive NHSTA customer complaints, and complaints from
13   other sites that put Audi on notice about the Transmission Defect, or should have put Audi on notice of
14   the Transmission Defect, the recall of certain Volkswagen and Audi Vehicles in 2009 regarding the
15   DSG/S-Tronic transmissions that exhibited the same issues and safety defects as suffered by Plaintiffs
16   and Class Members, the NHSTA investigation into the DSG issues in 2009 that noted the same
17   transmission issues and safety defect suffered by Plaintiffs and Class Members.
18          201.    Had Audi adequately disclosed the defect, Plaintiffs, members of the proposed Class, and
19   reasonable consumers would not have purchased or would have paid less for their vehicles with the
20   defective transmissions. Furthermore, Audi charges for repairs of Plaintiffs’ and class members’
21   transmissions without disclosing that the problem is widespread and that the repairs do not address the
22   root cause of the defect.
23          202.    Audi’s acts are and were deceptive acts or practices which are and/or were, likely to
24   mislead a reasonable consumer purchasing the Class Vehicles.
25          203.    Pursuant to the provisions of Cal. Civ. Code § 1782(a), Plaintiffs have or will send notice
26   letters to Audi to provide them with the opportunity to correct their business practices. If Audi does not
27   thereafter correct its business practices, Plaintiffs will amend (or seek leave to amend) the complaint to
28




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 1   add claims for monetary relief, including restitution and actual damages under the Consumers Legal
 2   Remedies Act.
 3
                                         SIXTH CLAIM FOR RELIEF
 4
                         Violation of the California Unfair Competition Law (“UCL”)
 5                                  Cal. Bus. & Prof. Code § 17200, et seq.
                             (On behalf of Plaintiffs and the California Subclass)
 6
            204.     Plaintiffs, individually and for the California Subclass, hereby incorporate each and every
 7
     allegation from Paragraphs 1 through 152 as though fully set forth herein.
 8
            205.     California Business & Professions Code § 17200, et seq. (“UCL”) prohibits acts of “unfair
 9
     competition,” including any “unlawful, unfair or fraudulent business act or practice” and “unfair,
10
     deceptive, untrue or misleading advertising.”
11
            206.     Plaintiffs and members of the California Subclass are reasonable consumers who do not
12
     expect their Class Vehicles to suffer from a variety of transmission defects that include but are not limited
13
     to, bucking, jerking, failure to properly accelerate, and failure to transition smoothly or correctly from
14
     one gear to another.
15
            207.     Further, Audi advertised the Class vehicles as “safe” and ‘”reliable” while failing to
16
     disclose to Plaintiff and Class Members any hint of the risks posed by the transmission defect-which is
17
     dangerously unreliable and present at the point of sale.
18
            208.     Audi knew the Class Vehicles suffered from inherent defects, were defectively designed
19
     or manufactured, would fail to operate as intended, and were not suitable for their intended use.
20
            209.     In failing to disclose the transmission defect, Audi knowingly and intentionally concealed
21
     material facts and breached its duty not to do so.
22
            210.     By their conduct, Audi has engaged in unfair competition and unlawful, unfair, and
23
     fraudulent business practices.
24
            211.     Audi had a duty to Plaintiff and members of the California Subclass to disclose the
25
     defective nature of the Class Vehicles because:
26
                a. Audi was in a superior position to know the true facts about the Class Vehicles’ safety
27
                     defect;
28




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 1               b. Audi made partial disclosures about the quality of the Class Vehicles without revealing
 2                  the defective nature of the Class Vehicles; and
 3               c. Audi actively concealed the defective nature of the Class Vehicles from Plaintiffs and
 4                  members of the California Subclass.
 5          212.    The facts regarding the transmission defect that Audi concealed from or failed to disclose
 6   to Plaintiffs and members of the California Subclass are material in that a reasonable person would have
 7   considered them to be important when deciding whether to purchase or lease Class Vehicles. Had
 8   Plaintiffs and members of the California Subclass known that the Class Vehicles were defective and
 9   posed a safety hazard, they would not have purchased or leased Class Vehicles, or would have paid less
10   for them.
11          213.    Audi continues to conceal the defective nature of the Class Vehicles, even after members
12   of the California Subclass and other consumers have reported problems.
13          214.    Audi’s conduct was and is likely to deceive consumers. Audi’s unfair or deceptive acts
14   or practices occurred repeatedly in Audi’s trade or business, and were capable of deceiving a substantial
15   portion of the purchasing public. Audi’s acts, conduct, and practices were unlawful in California, in that
16   they constituted:
17               a. Violations of the CLRA;
18               b. Violations of the Song-Beverly Consumer Warranty Act; and
19               c. Breaches of the express and implied warranties in violation of California and federal law.
20          215.    As a result of their reliance on Audi’s omissions and/or misrepresentations, owners and/or
21   lessees of the Class Vehicles suffered an ascertainable loss of money, property, and/or value of their
22   Class Vehicles. Additionally, as a result of the transmission defect, Plaintiffs and members of the
23   California Subclass were harmed and suffered actual damages in that the Class Vehicles’ are worth less
24   than they would be if they were not prone to the transmission defect.
25          216.    As a direct and proximate result of Audi’s unfair and deceptive practices, Plaintiffs and
26   members of the California Subclass have suffered and will continue to suffer actual damages.
27
28




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 1             217.   Audi has been unjustly enriched and should be required to make restitution to Plaintiffs
 2   and the California Subclass pursuant to §§ 17203 and 17204 of the California Business & Professions
 3   Code.
 4             218.   Plaintiff and the California Subclass seek all remedies available pursuant to § 17070, et
 5   seq., of the California Business & Professions Code, including: full restitutionary damages allowable by
 6   law; the diminished value of the Class Vehicles; the repair or replacement of all Class Vehicles; the
 7   refund of money paid to own or lease all Class Vehicles, and appropriate equitable relief, including
 8   injunctive relief, restitution, and a declaratory judgment; a court order enjoining Audi’s wrongful acts
 9   and practices; and any other relief to which Plaintiffs and the California Subclass may be entitled,
10   including attorneys’ fees and costs.
11
                                        SEVENTH CLAIM FOR RELIEF
12
                                   Violation of the Declaratory Judgment Act
13                               28 U.S.C. § 2201, et seq., and Fed. R. Civ. P. 57
               (On behalf of Plaintiffs, the Class, and, in the alternative, the California Subclass)
14
               219.   Plaintiffs, individually, and for the Class and, in the alternative, the California Subclass,
15
     hereby incorporate each and every allegation from Paragraphs 1 through 152 as though fully set forth
16
     herein.
17
               220.   Declaratory relief is intended to minimize “the danger of avoidable loss and unnecessary
18
     accrual of damages.” 10B Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice
19
     and Procedure § 2751 (3d ed. 1998).
20
               221.   There is an actual controversy between Audi and Plaintiffs concerning whether the Class
21
     Vehicles’ transmission defect creates an unreasonable safety hazard. Pursuant to 28 U.S.C. § 2201, the
22
     Court may “declare the rights and legal relations of any interested party seeking such declaration, whether
23
     or not further relief is or could be sought.”
24
               222.   Despite long knowing the nature of the Class Vehicles’ defect and its likelihood of placing
25
     Plaintiffs, the Class, California Subclass, and the public at risk of grave injury, Audi refuses to publicly
26
     acknowledge that the Class Vehicles contain a dangerous defect. Instead, Audi has not advised its
27
     consumers and other members of the public of the defect. Audi has uniformly refused to permanently
28
     repair the defect and, upon information and belief, does not always cover the defect under the warranty.



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 1             223.   Accordingly, based on Audi’s failure to act, Plaintiffs seek a declaration that the Class
 2   Vehicles are defective, as alleged herein, covered under the New Vehicle Limited Warranty has failed of
 3   its essential purpose because Audi cannot repair or replace the defective transmissions. The defective
 4   nature of the Class Vehicles is material and requires disclosure to all persons who own them.
 5             224.   The declaratory relief requested herein will generate common answers that will settle the
 6   controversy related to the alleged defective nature of the Class Vehicles and the reasons for their repeated
 7   failure. There is an economy to resolving these issues as they have the potential to eliminate the need for
 8   continued and repeated litigation.
 9
                                       EIGHTH CLAIM FOR RELIEF
10
                                Unjust Enrichment, pleaded in the alternative
11                (On behalf of Plaintiffs, the Class, and, in the alternative, the California Subclass)

12             225.   Plaintiffs, individually, and for the Class and, in the alternative, the California Subclass,

13   hereby incorporate each and every allegation from Paragraphs 1 through 152 as though fully set forth

14   herein.

15             226.   Audi knew or should have known that Plaintiffs, the Class, and the California Subclass

16   paid for the Class Vehicles with the expectation that they would perform as represented.

17             227.   Plaintiffs, the Class, and the California Subclass conferred substantial benefits on Audi by

18   purchasing the defective Class Vehicles. Audi knowingly and willingly accepted and enjoyed those

19   benefits.

20             228.   Audi’s retention of these benefits is inequitable.

21             229.   As a direct and proximate cause of Audi’s unjust enrichment, Plaintiffs, the Class or, in

22   the alternative, the California Subclass, are entitled to an accounting, restitution, attorneys’ fees, costs

23   and interest.

24                     EQUITABLE INJUNCTIVE AND DECLARATORY RELIEF
               (On behalf of Plaintiffs, the Class and, in the alternative, the California Subclass)
25
               230.   Plaintiffs, individually, and for the Class and, in the alternative, the California Subclass,
26
     hereby incorporate each and every allegation from Paragraphs 1 through 152 as though fully set forth
27
     herein.
28




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 1           231.    Audi is under a continuing duty to inform its customers of the nature and existence of
 2   potential defects in the vehicles it sells.
 3           232.    Audi acted uniformly towards Plaintiffs, the Class, and Members of the California
 4   Subclass by refusing to adequately warn about the dangers of the transmission defect or offer a permanent
 5   repair of the defect.
 6           233.    Plaintiffs, the Class, members of the California Subclass, and the public will suffer
 7   irreparable harm if Audi is not ordered to properly repair all of the Class Vehicles immediately, offer
 8   rescission to Plaintiffs, the Class, and the California Subclass by repurchasing their Class Vehicles for
 9   their full cost and reimbursing the lessees of the Class Vehicles the monies they have paid toward their
10   leases, recalling all defective vehicles that are equipped with the defective transmissions, and ceasing and
11   desisting from marketing, advertising, selling, and leasing the Class Vehicles.
12           234.    Such irreparable harm includes, but is not limited to, likely injuries as a result of the
13   transmission defects to the Class Vehicles.
14           235.    Based on the facts alleged herein, and the conduct of Audi in failing to disclose, address,
15   or resolve the problems with the Class Vehicles, Plaintiffs and the Class, or alternatively the California
16   Subclass, seek appropriate equitable relief, including injunctive relief, a declaratory judgment, a court
17   order enjoining Audi’s wrongful acts and practices, the repair or replacement of all Class Vehicles, the
18   refund of money paid to own or lease all Class Vehicles, and any other relief to which they may be
19   entitled.
20                                             PRAYER FOR RELIEF
21           WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated, pray for a
22   judgment against Defendant as follows:
23           A.      For an order certifying the Class and/or Subclass, appointing Plaintiffs as the
24                   representatives of the Class and each Subclass, and appointing the law firms
25                   representing Plaintiffs as counsel for the Class;
26           B.      For a declaration that the transmissions in Class Vehicles are defective, the remedial
27                   work necessary to correct the defective transmissions is covered by the New Vehicle
28                   Limited Warranty, the New Vehicle Limited Warranty fails of its essential purpose,




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 1                 and that applicable statutes of limitations are tolled based upon Defendant’s knowing
 2                 concealment of the defect;
 3          C.     For other such injunctive, declaratory, and equitable relief as is warranted by the facts
 4                 and law;
 5          D.     For compensatory damages and/or restitution or refund of all funds acquired by
 6                 Defendant from Plaintiffs as a result of Defendant’s unlawful, unfair, deceptive, and
 7                 unconscionable practices described herein and in the consumer protection statute of
 8                 California, including actual, statutory, and/or trebled damages to the extent permitted
 9                 by law in an amount to be proven at trial;
10          E.     Trebling of damages suffered by the Class and/or Subclass;
11          F.     Payment of costs and expenses of suit herein incurred;
12          G.     Both pre-and post-judgment interest on any amounts awarded;
13          H.     Payment of reasonable attorneys’ fees and expert fees;
14          I.     An order requiring Defendant to repair or replace the transmissions in the Class
15                 Vehicles.
16          J.     Punitive damages where available; and
17          K.     Such other and further relief as the Court may deem proper.
18                                       DEMAND FOR JURY TRIAL
19          Plaintiffs, the Class, and the California Subclass hereby demand trial by jury of all issues triable
20   by right.
21
     Date: March 15, 2019                          s/Gregory F. Coleman
22
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20                                Attorneys for the Plaintiffs and the proposed Class and
                                  Subclass
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                                         CERTIFICATE OF SERVICE
 1
 2          The undersigned attorney hereby certifies that the foregoing pleading, Second Amended Class

 3   Action Complaint, was filed electronically with the Clerk of Court using the ECF system, which sent
 4
     notification of such filing to all counsel of record on this 15th day of March, 2019.
 5
 6
 7                                                 s/Gregory F. Coleman
                                                   Gregory F. Coleman (pro hac vice)
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